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for the
Western District of New York

    

In the Matter of the Search of _ 7 messeij 1
MNMM”WM’°&M"MDH“P””WMMM) Case No.lS-MJ-""" = '-‘PNW D§S § R_EU";O_

the premises located at 10 Campb_ell Park, Rochester, New §§ :§_ ;;S¢.

York; 202 Rand Sireet, Rochester, New York; 75 Barker ma ._q_ 531

Street, Rochester, New York; 100 Santee Street, Rochester, ' sam

New York; 679 aaron Road, Rochester, New York; 174 '% “T

Cla§,r Avenue, Rochester, New York; 95 Taft Avenue, ph ny gsa

Rochester, New York; 371 Jay Street, Rochester, New York tv ny 510

and 17 campbell Park, Rochester, New York 12 §§ §§

APPLICATION FOR A SEARCH WARRAN"I`

l, JERRY STYERS a U. S Postal Inspector with U. S Pos'tal Service, request a search warrant and state
under penalty of perjury that I have reason to believe that there is now concealed on the following person or
property located 111 the Western District of New York away emma seamaer w aemaaeaanrgwgisimi-

The Subj€ct property to be Searched: the premises located at 10 Campbell Park, Rochester, New York, more fullyr
described 111 Attaclimerrt A.

The person or property to be searched, described above, is believed to conceal (ia'ent;`}§) the person or describe the
property to be seized): w Attachment B for the Itenis to be Seized, all of which are fruits, evidence and
instrumentalities in violation of Title 21, United States Code, Sections 841 and 846, and all of which are more
fully described in the application and affidavit filed in support of this Warrant, the allegations of which are
adopted and incorporated by reference as if fully set forth herein.

The basis for the search'under Fed. R. Crirn. P. 41(c) is (check one or more):
evidence of a crime

contraband, fruits of crime, or other items illegally possessed;
propegv desi@ ed for use, intended for use, or used iii committing a crime,'

a erson to be arrested or a erson who is unlawfull restrained

 

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The search is related to a violation of Title 21, United States Code, Sections 841 and 846, and the application` is
based on these facts which are continued on the attached sheet

m Delayed notice of days (give exact ending date if more than 30 days) is requested under
18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet

 

 

.TERRYS. STYERS. U.S_ Postal lnsoector. USPS

 

 

Printed name and rifle
Sworn to before me and signed in my presence ®
Daie; March 5 . 2018 _ f M

fudge s signature

   

JONATHAN W. FELDMAN U.S. Ma istrate Jud e

Pri'nted name and title

 

Citv and State: Rochester. New York

Case 6:18-mj-00542-.]WF Document 1 Filed 03/05/18 Page 2 of 71

ATTACHMENT A
Property to be Sea;rched

Residence located at 679 Eaton Road, Rochester, New York, 14617

The Subject Premises to be searched is located at 679 Eaton Road, Rochester, New
York, 14617. 679 Eaton Road, Rochester, New York, 14617 is a single family residence
with a detached garage rI'he residents of the property are Phou Daoreuang and his wife
Jenalyn (Prejsnar) Daoreuang. The house and garage are north-facing structures located on
the south side of Eaton Road-

Both the single family residence and the garage are covered in light blue siding with
dark blue trim. There are two entry doors to the residence one on the nont (North) side
and one on the west side of the residence The numbers “679” are affixed to a light pole in the
front yard of this dwelling in black numbers The dwelling has a detached garage blue in color

The area to be searched would include the residence and all attached areas located at 679
Eaton Road, Rochester, New York, 14617, to include all the residences storage areas,
curtilage occupants, and any person present thereat or therein. A photograph of the Subject
Premises is attached hereto.

 

Case 6:18-mj-00542-.]WF Document 1 Filed 03/05/18 Page 3 of 71

ATTACHMENT A
Propelty to be Searched

Residence located_at 371 Jay Street, Rochester, New York, 14611

The Subject Premises to be searched is located at 371 J ay Street, Rochester, New
York, 14611. 371 J ay Street, Rochester, New York, 14611 is a single family residence The
resident of the property is Viriyavong Kongchanh.

The single family residence is covered in tan siding with white trim. The residence
faces North and is on the south side of Jay Street approximately 100 feet west of Grape
Street. There is an entry door on the front (North) side and the rear (South) of the residence
The number “371” in black numbers is attached to the front of the residence

The area to be searched would include the residence and all attached areas located at 371
lay Street Rochester, NY 14611. To include all the residence’s storage areas, curtilage,
occupants, vehicles and any person present thereat or therein. A photograph of the Subject
Premises is attached hereto.

 

Case 6:18-mj-00542-.]WF Document 1 Filed 03/05/18 Page 4 of 71

ATTACHh/[ENT A
Property to be Searched

Residence located at 202 Rand Street, Rocllester, New York, 146'15

The Subject Premises to be searched is located at 202 Rand Street, Rochester, New
York, 14615. 202 Rand Street, Ro_chester, New York, 14615 is a single family residence with
a detached garage The property is owned by Kongchay Kongthong 11/15/1967. The house
and garage are south~facing structures located on the north side of Rand Street, approximately
150 feet east of Aster Street.

Both the single-story house and the garage are covered in gray siding and the house
has white trim. There are black numbers “202” attached to the front of the residence near the
front door staircase There are three entry doors to the residence The front door is accessed
by four stairs and a small covered porch_ The east side entry door is accessed by the driveway
and the rear door is a sliding glass door accessed by a large rear yard deck.

The garage is detached from the residence and located to the rear of the home The garage
door is white in color, one piece with no windows

The area to be searched would include the residence and all attached areas located at 202
Rand Street, Rochester, New York, 14615, to include all the residence’s storage areas,
curtilage, occupants, vehicles and any person present thereat or therein. A photograph of the
Subject Premises is attached hereto.

 

Case 6:18-mj-00542-.]WF Document 1 Filed 03/05/18 Page 5 of 71

ATTACHMENT A
Property to be Searched

Residence located at 100 Santee Street, Rochester, New York, 14606

The Subject Premises to be searched is located at 100 Santee, Rochester, NeW York, 14606.
100 Santee Street, Rochester, New York, 146'06 is a single-family residence with an attached
garage The residents cfthe property are Len P. Duarigtavilay and Moune Duangtavilay.

100 Santee Street, Rochester, New Yorl<, 14606. The location is a single-family residence
with green siding and white trim. The single-family residence is located on the eastside of Santee
Street and the front of the dwelling faces west The numbers “100” are affixed to the front of the
dwelling, left of the front door, in black color. This dwelling has a detached garage

The area to be searched would include the residence and all attached areas located at 100
Santee Street, Rochester, New Yorl<, 14606, to include all the rcsidence’s storage areas, curtilage,
occupants, and any person present thereat or therein A photograph of the Subject Prcmises is
attached hereto.

 

Case 6:18-mj-00542-.]WF Document 1 Filed 03/05/18 Page 6 of 71

ATTACHl\/IENT A
Property to be Searched

Residence located at 95 Taft Avenue, Rochester, New York, 14609

The Subject Premises to be searched is located at 95 Taft Avenue, Rochester, NeW Ycrk,
14609. 95 Tafl Avenue, Rochcster, New York, 14609 is a single-family residence with an attached
garage The residents of the property are Darounsal< Daoreuang and Viengthong Daoreuang.

95 Taft Avenue, Rochester, Ncw Yorl<, 14609. The location is a single-family residence
with tan siding and white/ trim. The single-farriin residence is located on the southside ofTaft Avenue
and the front of the dwelling faces north. The numbers “95” are affixed above the garage door in black
colors.

The area to be searched would include the residence and all attached areas located at 95
Taft Avenue, Rochester, New York, 14609, to include all the residence’s storage areas, curtilage,
occupants, and any person present thereat or therein A photograph of the Subjcct
Premises is attached hereto

 

Case 6:18-mj-00542-.]WF Document 1 Filed 03/05/18 Page 7 of 71

ATTACHMENT A
Property to l)e Searched

Residence located at 75 Barker Street, Rochester, New York, 14611

The Subject Premises to be searched is located at 75 Barker Street, Rochester, New
York, 14611. 75 Barker Street, Rochester, New York, 14611 is a single family residence
located on the west side of the street approximately 100 feet south of J ay Street. The property
is owned by Phournano Duangtavilay, however the residents are family and coconspirators
Chandy Vongxay 05-01-1988 and Keith Surivan 11-30-1977.

The single family residence has tan siding with dark brown trim. There are 3 stairs leading to
an open front porch located on the front of the residence and the number “75” in white aflixed
to the front porch post left of the stairs. There is no garage with the property The residents
own a 2011 Honda Accord, color black, bearing New York registration HLH4153, which
they park on the street in front of the residence

The main entrance to the residence is a white, right handed front door which is protected by
a left handed white aluminum storm door. Both doors are on the east side (front) of the house
accessed by standing on the front porch.

The area to be searched would include the residence and all attached areas located at 75
Barker Street, Rochester, New York, 14611, to include all the residences storage areas,
curtilage, occupants, vehicles, and any person present thereat Or therein A photograph of the
Subject premises is attached hereto.

 

Case 6:18-mj-00542-.]WF Document 1 Filed 03/05/18 Page 8 of 71

AT'I`ACI-ll\/IENT A
Property to be Searched

Residencc located at 10 Campbell Park, Rochester, New York, 14606

The Subject Premises to be searched is located at 10 Campbell Park, Rochester, New
York, 14606. 10 Campbell Park, Rochester, New York, 14606 is a single family residence
with an attached garage The residents of the property are Khonesavanh Vongxay and her
husband Phoumano Duangtavilay. The house and garage are west-facing structures located on
the northeast corner lot of J ay St and Campbell Park. The driveway enters the property from
Campbell Park and leads straight to the garage which is attached to the side of the house

Both the single-story house and the garage are covered in tan vinyl siding and the
house has white trim. The main entrance of the house faces west and is contained on a small
covered porch. The main entrance door is black and is covered by a glass storm door with
white trim. There is a single white pillar to the left of the front door. North of the main
entrance there is another entrance This secondary entrance door leads to the garage and a
breezeway attaching the garage to the residence This secondary entrance is white and is
covered by a white storm door. A black mailbox is affixed to the west side of the structure
between the secondary entrance and the garage The number “ 10” is affixed to the front of the
residence in white stickers.

The garage is attached to the home at its northwest corner, with one overhead-style door on
the west side The garage door is white and contains 8 window panes which are contained in
white trim. T here are 2 white security flood lights affixed to the vinyl siding above the
overhead door.

The area to be searched would include the residence and all attached areas located at 10
Carnpbell Park, Rochester, New York, 14606, to include all the residence’s storage areas,
curtilage occupants, and any person present there at or therein- A photograph of the Subject
Premises is attached hereto.

 

Case 6:18-mj-00542-.]WF Document 1 Filed 03/05/18 Page 9 of 71

A'I`TACHMENT A
Property to be Searched

Residence located at 17 CampbeH Park, Rochester, New York, 14606

The Subject Premises to be searched is located at 17 Campbell Park, Rochester, New
York, 14606. 17 Campbell Park, Rochester, New York, 14606 is a single family residence
with a detached garage The resident of the property is Kongdeuane Vongxay. The house and
garage are east-facing structures located on Carnpbell Park. The driveway enters the property
from Campbell Park and runs up the left side of the residence leading straight to the garage
which is detached and to the rear of the house

The two-story house is painted blue and has white trim. The main entrance of the
house faces east and is contained on a covered porch. rl`he main entrance door is white and
is covered by a glass storm door with white trim. There is a single white pillar to the left of
the front door and two white pillars to its right. South of the main entrance there is another
entrance This secondary entrance door leads into the residence and is covered by a small
roof overhang. This secondary entrance is covered by a white storm door. A black mailbox
is affixed to the front Of the residence to the right side of the front door. The number “17” is
affixed to the pillar to the left of the nont door in black numerals.

The garage is detached from the horne and sits in the southwest corner of the property
behind the residence lt has one overhead-style door on the east side The garage door is
blue and has a white diamond pattern painted on the front. There is a basketball hoop
attached to the garage above the overhead door.

The area to be searched would include the residence and all attached areas located at 17
Carnpbell Park, Rochester, New York, 14606, to include all the residence’s storage areas,
curtilage occupants, and any person present thereat or therein A photograph of the Subject
Prerriises is attached hereto.

 

Case 6:18-mj-00542-.]WF Document 1 Filed 03/05/18 Page 10 of 71

ATTACI-IMENT A
Property to be Searched

Residence located at 174 Clay Avenue, Rochester, New York, 14613

The Subj ect Prernises to be searched is located at 174 Clay Avenue, Rochester, New Yorl<,
14623. 174 Clay Avenue, Rochester, New York, 14623 is a single-family residence with a detached
garage The residents of the property are Danisha Floyd and loseph Arnadis.

174 Clay Avenue, Rochester, New York. The location is a single family dwelling with
gray siding and white trirn. The single family dwelling is located on the southside of Clay Avenue
and the front of the dwelling faces north. The numbers “174” are affixed to the left of the front door
in black color.

The area to be searched would include the residence and all attached areas located at 174
Clay Avenue, Rochester, New Yorl<, 14623, to include all the residence’s storage areas, curtilage
occupants, and any person present thereat or therein A photograph of the Subject Prernises is
attached hereto.

 

Case 6:18-mj-00542-.]WF Document 1 Filed 03/05/18 Page 11 of 71

AT'I`ACI~]MENT B
ITEMS TO BE SEARCI-IED FOR AND SEIZED A'l` SUBJEC'I` PREM]SES

Financial records: including but not limited to documents, records, and items
related to narcotics trafficking Such records are to include accounting records,
such as financial statements, ledgers, journals, invoices, credit card records,
check registers, stamps, notes, correspondence and records of business and
personal expenditures; records reflecting income; and records evidencing the
receipt or disbursement of fundsl

Bank records: including but not limited to account opening documents,
statements, deposit tickets, cancelled checks, check registers, receipt books,
wire transfers, official checks, cashier’s checks, money orders, investment
Statements, foreign banking records, and safe deposit box records and keys;

Storage records reflecting any off~site locations to store records, financial
instruments or Controlled substances, including but not limited to safe deposit
box keys and records and receipts of rental agreements for storage facilities,
whether such records are stored in documentary or electronic form.

Customer Lists: in any form, including lists of telephone numbers, addresses,
rolodexes, calendars, and appointment books

Business and personal records: including customer profiles and contact
information, telephone scripts, telephone logs, telephone messages, calendars,
calendar entries, diaries, client debt portfolios, lists of debtors, and debt
payment details, correspondence mailing envelopes, notes, memoranda,
and/ or mailing records;

 

'l`ax records
Anv lockbox. safe or vault found on the Subiect Premises.

Comouters. Electronic Media. and Cellular Phones: The seizure of
Computers, Electronic Media and Cellular phones is authorized under this
warrant, but any Search Of the seized computers-, cellular phones and electronic
media shall be based upon a separate search warrant, made within a reasonable
time to the Court after the seizure of said electronic media.

Mari]uana and other non~prescription controlled substancesl
Currency or other monetary instruments
Photographs depicting any coconspirators

Drug paraphanelia or equipment to include but not be limited to bags, heat sealers,
packaging materials, scales, and boxes.

Case 6:18-mj-00542-.]WF Document 1 Filed 03/05/18 Page 12 of 71

AFF]DAVTI' IN SUPPOR'I` OF SEARCH WARRANTS

STATE OF NEW YORK )
COUNTY OF MONROE ) SS:
CITY OF ROCHESTER )

l, JERRY S. STYERS, being duly sworn, deposes and says:

1.

IN'I`RODUCTION AND AGENT BACKGROUND

l am an lnspector for the United States Postal lnspection Service (USPIS), and as

such l am authorized to investigate Postal offenses and civil matters relating to the Postal Service;

serve warrants and subpoenas and make arrests (Title 18 U.S.C. 3061) for offenses enumerated

in Title 18, United States Code Section 2516 and Title 21, United States Code, Section 801.

2. l make this Affrdavit in support of an application for a warrant to search the

following locations:

a) 10 Campbell Park, Rochester, NY - the residence of PHOUMANO
DUANGTAVILAY, K_llONESAVANl-l VONGXAY, KONGDEUANE
VONGXAY, and JAMES VONGXAY.

b) 202 Rand Street, Rochester, NY - the residence of KONGCl-IAY
KONGTHONG and MANIVONE PHOl\/lh/lAVlSETH.

c) 75 Barker Street, Rochester, NY - the residence of CHANDY VONGXAY and
KEITl-I SURIVAN.

d) 100 Santee Street, Rochester, NY - the residence of Moune Douangtavilay and
Len Douangtavilay.

e) 679 Eaton Road, Rochester, NY- the residence of PHOU DAOREUANG.

f) 174l Clay Avenue, Rochester, NY- the residence of DANISHA FLOYD.

g) 95 Taft Avenue, Rochester, NY- the residence of Darounsak Daoreuang and
Viengthong Daoreuang

h) 371 J ay Street, Rochester, NY- the residence of Kongchanh Viriyavong.

i) l 7 Campbell Park, Rochester, NY - a residence owned by Mike Sypaseuth with

utilities paid by KONGDEUANE VONGXAY-

The descriptions of each of these properties are more fully set out and described in

Attachments A to this Aflidavit.

Case 6:18-mj-00542-.]WF Document 1 Filed 03/05/18 Page 13 of 71

3- 'l`he statements contained in this Affidavit are based upon my investigation, records
obtained from post offices, interviews conducted by your affiant, documents and items
discarded by a suspect, and on my experience and training as a Postal lnspector. Because this
Aflidavit is being submitted for the limited purpose of securing a search warrant, l have not
included each and every fact known to me and have set forth only the facts that l believe are
necessary to establish probable cause that evidence and fruits of violations of Title 21, United
States Code Sections 846 and 84l(b)(1)(B) (conspiracy to possess with intent to distribute and
to distribute marijuana) will be found at the aforementioned locations The evidence and fruits
of the crime to be searched for and seized are more fully set out in Attachments B of this

Affidavit.

DETA]LS OF INVESTIGATION

4. The investigation involves the use of the United States Postal Service money
orders to conceal illegal profits from the sale of marijuana and the procurement of marijuana
through the United States l\/lail for trafficking in the Rochester, New York area. ln order to
aid in hiding the location of the controlled substance trafficking business as well as foster their
processing of illicit funds received from their customers, this investigation has revealed that
Pl-lOUl\/_[ANO DUANGTAV]LAY, KHONESAVANH VONGXAY, KONGCl-_IAY
KONGTl-IONG, MANIVONE PHOMMAVISETl-l, JAMES VONGXAY, CHANDY
VONGXAY, KEITH SURIVAN, PI-IETNALAY DOUNGTAV]LAY, PHOU
DAOREUANG, DANISHA FLOYD, JERIMIAH TORRES, PATHANA VONGXAY and
KONGDEUANE VONGXAY operate a network of locations in the Rochester area that

process and move marijuana and illegal proceeds through multiple residences, and use Postal

2

Case 6:18-mj-00542-.]WF Document 1 Filed 03/05/18 Page 14 of 71

structured purchases of Postal money orders to launder the illegal proceeds and purchase
marijuana in furtherance of trafficking operations These individuals are contemporaneously
being charged in a Criminal Complaint with violating Title 21, United States Code Sections
846 and 841(b)(1)(B) (conspiracy to possess with intent to distribute and to distribute 100
kilograms or more of a mixture or substance containing marijuana), the allegations of which

are incorporate herein by reference

5 . Since late 2014, the United States Postal lnspection Service (hereinafter “USPIS”)
has been investigating the structured purchases of United States Postal Service (hereinafter
“USPS”) money orders throughout the greater Rochester, NY area. ln December, 2015, New
York State Police (hereinafter “NYSP”) began investigating a suspected drug trailicking
organization in the same geographic area. This organization has been primarily involved in the
trafficking of marijuana and laundering of the proceeds of marijuana trafficking ln December
2015, USPlS and NYSP discovered they were investigating the same drug trafficking network
and commenced a joint investigation into the matter

6. As part of this investigation, the USPIS and NYSP have used several different
techniques to investigate this organization, including, but not limited to: physical and video
surveillance of people making structured purchases of Posta.l money orders at Post Offices and
U'SPS city stations, physical and video surveillance of people making structured purchases of
money orders issued by l\/loneyGram and Western Union at various establishments, physical
and video surveillance of people mailing parcels containing money orders, record searches,
analysis of money orders purchased at USPS locations, physical and video surveillance of people
suspected of supplying controlled substances to this organization, physical and video

surveillance of deliveries of parcels containing controlled substances to this organization,

Case 6:18-mj-00542-.]WF Document 1 Filed 03/05/18 Page 15 of 71

physical and video surveillance of people purchasing controlled substances from this
organization, debriefing of cooperating informants, the seizure of USPS parcels containing
controlled substances and money orders, and the review of parcels containing money orders.

7. As a result of these techniques, this investigation has produced reliable evidence
that PHOUMANO DUANGTAVILAY and KHONESAVANl-l VONGXAY are the heads of
a well~established marijuana distribution organization in Rochester, New York. The
investigation also revealed that DUANGTAV]LAY and VONGXAY have many associates
and workers who assist them in their marijuana distribution organization, including, but not
limited to: KONGCHAY KONGTHONG, MANIVONE PHOMMAVISETH, JA.MES
VONGXAY, CI-IANDY VONGXAY, KEITH SURIVAN, Pl-IETNALAY
DOUNGTAVILAY, Pl-IOU D'AOREUANG, DANISHA FLOYD, JERIM]Al-l TORRES,
PATHANA VONGXAY, and KONGDEUANE VONGXAY. These associates are used to
facilitate the trafficking of marijuana throughout the Rochester area, and to make structured
purchases of USPS, l\/loneyGram, and Wester'n Union money orders and mail them to
marijuana suppliers in California. They also receive shipments of marijuana bound for
distribution and store it in residences throughout the Rochester area. ln addition, they distribute
marijuana to customers of the organization and accept payment from them. ln doing so, they
utilize multiple locations in the Rochester, New York area - which are the subject this search
warrant application a and include the following locations:

a) 10 Campbell Park, Rochester, NY - the residence of PHOUMANO

DUANGTAVILAY, KHONESAVANH VONGXAY, KONGDEUANE
VONGXAY, and JAMES VONGXAY.

b) 202 Rand Street, Rochester, NY ~ the residence of KONGCHAY
KONGTHONG and MANIVONE PHOMMAVISETl-l.

c) 75 Barker Street, Rochester, NY - the residence of CHANDY VONGXAY and
K_EITH SURIVAN.

Case 6:18-mj-00542-.]WF Doeument 1 Filed 03/05/18 Page 16 of 71

d) 100 Santee Street, Rochester, NY - the residence of Moune Douangtavilay and
Len Douangtavilay.

e) 679 Eaton Road, Rochester, NY- the residence of PHOU DAOREUANG.
f) 174 Clay Avenue, Rochester, NY~ the residence of DANISHA FLOYD.

g) 95 Taft Avenue, Rochester, NY- the residence of Darounsak Daoreuang and
Viengthong Daoreuang

h) 371 J ay Street, Rochester, NY- the residence of Kongchanh Viriyavong.

i) 17 Campbell Park, Rochester, NY - a residence owned by Mike Sypaseuth with
utilities paid by KONGDEUANE VONGXAY.

8. Since this affidavit is being submitted for the limited purpose of obtain search
warrants for the listed locations, l have not set forth all of the information know to me as a
result of the investigation Rather, l have only set forth evidence suflicient to establish

probable cause for the requested search warrants regarding the listed locations.

MAll. PARCELS

9. The residence at 10 Campbell Park has been identified as a location used by the
organization to receive suspected marijuana parcels from Caliform`a. On October 5 , 2016,
Postal lnspector Landen Hawkins noticed 2 suspicious Postal parcels destined for 10
Campbell Park, Rochester, New York, 14606, and 1 suspicious parcel destined for 486 l\/lt.
Read Boulevard, Rochester, New York, 14606, during a routine review of mail. The parcels
were seized for further review and lnspector Hawkins applied for and secured federal search
warrants for all 3 parcels. On October 7, 2016, lnspector Hawkins executed the warrant on
the parcel destined for 486 Mt_ Read Blvd and recovered approximately 11 pounds of
marijuana that were packaged in heat-sealed bags. On October 8, 2016, lnspector Hawkins
executed the warrants on the parcels destined for 10 Campbell Park and recovered

approximately 22 pounds of marijuana packaged in heat-sealed bags.

5

Case 6:18-mj-00542-.]WF Document 1 Filed 03/05/18 Page 17 of 71

10. Between November 2015 and January 19, 2018, 10 Campbell Park, Rochester,
New York, 14606, has received at least 48 parcels suspected of containing marijuana, all
shipped from various locations in California. These packages ranged in size from 3 to 25
pounds with an average weight of approximately 9 pounds per parcel. These parcels are of
similar size Weight, and origin locations and addresses to the previous parcels that were
intercepted by Postal lnspectors and destined for 10 Campbell Park, and which was found to

contain marijuana

ll. During the course of this investigationJ it is believed that over 1,000 parcels of
suspected marijuana have been sent from locations in California to the subjects of this
investigation in Rochester, New York. These parcels have on average weighed
approximately 12 pounds, 6 ounces and most often take the form of medium-sized cardboard
boxes. For example on November 28, 2017, l seized U.S. Postal Service Priority Mail

Express parcel number EL 889 123 835 US:

A parcel addressed to “Kelly Smith, 38 Magee Avenue, Rochester, NY 14613” which
further bears a retum address of “Linda Smith, 8550 Florin Road, Sacramento, CA
95828.” The Priority Mail _Express parcel is a brown cardboard box measuring
approximately 14” x 14” x 14,” weighing approximately 13 pounds, 4 ounccs, bearing
$106.40 in postage and Was mailed from Sacramento, CA 95823. The parcel was a
“Walmart.com” cardboard box that, upon execution of a federal search warrant was found
to contain approximately 7 pounds, 6 ounces of vacuum~sealed leafy, green substance that
field-tested positive for marijuana secreted in a metal trash can.

12. On November 28, 2018, l also seized U.S. Postal Service Priority Mail Expre'ss

parcel number EL 889 123 827 US:

Case 6:18-mj-00542-.]WF Document 1 Filed 03/05/18 Page 18 of 71

A parcel addressed to “Kham Phim, 48 l\/lichigan Street, Rochester, NY 14606” which
further bears a return address of “Famous Pizza, 4400 4’7“1 Avenue, Sacramento, CA
95823.” The Priority Mail Express parcel is a brown cardboard box measuring
approximately 14” x 14” x 14,” weighing approximately 14 pounds, 4.0 ounces, bearing
$110.65 in postage, and was mailed from Sacramento, CA 95817. The parcel was a
“Wahnart.com” cardbon box that, upon execution of a federal search warrant was found
to contain approximately 7 pounds, 6.35 ounces of vacuum-sealed leafy, green substance
that field-tested positive for marijuana secreted in a metal trash can.

13. Based on my training and experience, I am aware that the Postal Service’s
Priority Mail Express service was custom~designed to tit the needs of businesses by providing
overnight delivery for time-sensitive materials Priority Mail Express parcels are typically
used by businesses to send documents, often utilize typewritten labels, and are sent in pre-
printed cardboard mailers. They typically weigh, on average, up to 2 pounds. ln addition,
due to their contents, often paperwork or bound printed matter, they often cost less than
$50.00 to mail. Corporate charge accounts were developed by the Postal Service so that
businesses would be able to enter their account number directly on the Priority Mail Express
label, thus avoiding time-consuming cash payments for each business mailing Priority l\/iail
Express also comes with a “built-in” unique tracking number that can be used to track the
status of each parcel.

l4. Based on my training and experience, I have learned that narcotics traffickers
often utilize Priority Mail Express for the transportation of controlled substances, or the
proceeds from the sale of controlled substances, based upon the fact that Priority Mail Express
can quickly move the item(s) to the delivery destination Since the Postal Service standard
for Priority Mail Express parcels is overnight-delivery, Priority Mail Express parcels often
make it to their destination 24 hours or less from the time they were received at a Post Oilice.

Perhaps more importantly, the movement of packages via Priority Mail Express can also be

Case 6:18-mj-00542-.]WF Document 1 Filed 03/05/18 Page 19 of 71

1

tracked via mobile device and/ or the internet based upon the unique tracking number
assigned to each specific parcel. This is important to narcotics traifrckers because any delay in
the delivery of the mail can serve as an indication to the mailer that the item(s) have possibly
been intercepted by the U.S. Postal lnspection Service. Additionally, items sent via Priority
Mail Express are considered to be First~class mail, and therefore, cannot be opened without a
Federal Search Warrant.

15 . I am also aware, based upon my training and experience, that parcels
containing contraband often display many similar qualities For example, these packages

may often display some or all of, but not limited to, the following characteristics:

a. Un]ike typical Priority Mail Express business mailings containing
documents, which usually have typed labels, parcels known to have
contained controlled substances and/ or their proceeds typically bear a
handwritten labei. Based on my training and experience, and upon the
training and experience of fellow Postal lnspectors, l know that drug dealers
routinely use handwritten mailing labels when they transport narcotics
and/ or their proceeds through the mails.

b. The absence of a corporate account number listed on a label indicates the
sender paid for postage using cash or its equivalent A package containing
controlled substances typically does not contain a corporate account
number, thereby indicating that the sender of the package paid cash or its
equivalent, which is less traceable Based on my training and experience,
and upon the training and experience of fellow Postal lnspectors, senders of
parcels containing controlled substances are known to pay for postage using
cash in order to remain anonymous and to, therefore, avoid detection

c. The handwritten label will often contain one or more of the following:
misspelled words, incomplete addresses, fictitious addresses, or is addressed
to and/ or from fictitious persons. Based upon your atliant’s experience and
discussions with other experienced Postal lnspectors, I am aware that
individuals who ship and/ or receive drugs via the mail often employ fictitious
return addresses and/ or names not associated with the addresses, in order to
avoid detection This allows them to distance themselves from the contraband
should the parcel be_ intercepted by law enforcement

Case 6:18-mj-00542-.]WF Document 1 Filed 03/05/18 Page 20 of 71

d. Packages containing controlled substances are normally heavier than the
typical business mailing (described in paragraph ll above) containing
documents -

e. Parcels containing controlled substances often have an originating Post Oiiice
that is located in a different area, town or city than the return address listed on
the parcel. The distance between the two locations can vary. Traveling
various distances is often used by mailers of illegal narcotics and their
proceeds in order to avoid detection, recognition, and/ or being caught on
surveillance video.

f. Parcels containing controlled substances are often heavily taped or glued on
the seams of the parcel, and/ or the outside of the package is wrapped with a
type of paper covering Heavy taping or gluing of seams, or wrapping the
exterior of the package is consistent with parcels known to have contained
illegal narcotics Such efforts appear to be an attempt to contain any odors
which might otherwise emanate from the package ln addition, suspicious
parcels sometimes are packaged in decorative boxes to appear as gifts and/ or
bear markings that include “fragile” or “perishable.” Mailers of illegal
substances sometimes use such indicators, including purchasing services such
as insurance, in order to make the parcels appear more legitimate1 mundane
and inconspicuous.

g. Parcels containing controlled substances may be shipped from locations
which, based upon previous successful interdictions, are known source
locations for the distribution of illegal narcotics
16. Parcels found to meet any or all of the characteristics described above are often
scrutinized by lnspectors through address verifications and trained narcotic~detecting canine
examination Postal lnspectors have been authorized to seize packages, including Priority Mail
Express, which contain illegal and controlled substances that were shipped from areas around
the country and Puerto Rico. Many locations, including California, are known source locations
for illicit narcotics trafficking
17. Based on my training and experience, I have learned that narcotics traffickers

often utilize the same techniques to obfuscate the contents of parcels mailed through the U.S.

Postal Service. Many of the over 100 parcels examined and seized during my career have

Case 6:18-mj-00542-.]WF Document 1 Filed 03/05/18 Page 21 of 71

been constructed in the same manner For example, in the above-referenced seizures from
November 28, 2017 regarding packages sent to 38 Magee Avenue and 48 Michigan Street,
where 2 separate boxes sent from 2 separate locations to 2 different addresses associated with
co-conspirators of this case were sent in the same manner - 14” x 14” x 14” cardboard box
containing a metal trash can, covered by a black plastic garbage bag, and which contained
over 7 pounds of marijuana inside vacuum-sealed plastic bags.

18. Based on my training and experience, l also have learned that narcotics
traflickers often keep records and materials concerning their suppliers and transactions in their
residence as well as at other locations associated with the operation Further, drug traffickers
use various locations to serve different functions so that customers, thieves, and law
enforcement personnel do not learn about any one location where large quantities of
narcotics, money, and/ or other drug-related assets are stored. Therefore, one or more
locations are often used to store lesser amounts of narcotics, money, and/ or drug related
assets, and additional locations are used to meet customers;

19. ln addition, based on my training and experience, l have learned that persons
involved in large-scale drug trafficking conceal, in various locations, caches of drugs, drug
paraphernalia, jewelry, automobiles, automobile titles, deeds to property, and other items of
value and/ or proceeds of drug transactions and evidence of financial transactions relating to
obtaining, transferring seeret:ing, or spending large sums of money acquired from engaging
in narcotics trafficking activities. Further, traffickers use telephones, portable cellular and
digital telephones and other communication devices to further their illegal activities
As a result, traffickers often maintain in their residences, vehicles, and locations where they

conduct transactions, records and items that reflect or contain names, addresses, and/ or

10

Case 6:18-mj-00542-.]WF Document 1 Filed 03/05/18 Page 22 of 71

telephone numbers for their associates in the drug trafficking organization or are otherwise
used as part of trafficking activity, even if said records may be in code. Such records and items
include telephone address books and telephone listings text messages1 voice mails,
text messages photographs e-mails, fax messages and personal notes reflecting names,
identities addresses and telephone numbers

20. Further, l have learned that drug traffickers often keep records of their illegal
activities for a period of tjme, sometimes extending beyond the time during which they
actually possess illegal controlled substances in order to maintain contact with their criminal
associates for future drug transactions and so that they can have records of prior transactions
for which, for example, a trafficker might still be owed money, or might owe someone else

money.

L()CATIONS TO BE -SEARCHED

l. 10 Campbell Park ’

21. KHONESAVANI-I VONGXAY and PHOUMANO DUANGTAVILAY are
the residents of 10 Campbell Park, having resided there since at least 2014. On lanuary 6,
2017, NYSP Investigators conducted a garbage pull on discarded garbage at 10 Carnpbell Park
and recovered multiple empty USPS cardboard parcel boxes When the tracking number on
these parcels where checked against Postal records by lnspector Hawkins, lnspectors discovered
the following destination addresses: 75 Barker Street, Rochester, New York, 14611, 371 Jay
Street, Rochester, New York, 14611, and 679 Eaton Road, Rochester, New York, 14617.

22. On January 17, 2017, NYSP surveillance observed a 2015 Jeep Cherokee, bearing

New York registration GXR9150, entering the driveway at 10 Campbell Park, Rochester, New

ll

Case 6:18-mj-00542-.]WF Document 1 Filed 03/05/18 Page 23 of 71

York, 14606. A white male exited the vehicle and entered 10 Campbell Park. A short time later,
the white male, identified as ELIYOHU SKOLNIK, exited the residence with a large bag
SKOLN]K placed the bag into his Jeep Cherokee and vacated the premises

23. On January 18, 2017, lnvestigator Happ observed KElTl-I SURIVAN and
CHANDY VONGXAY exit the residence at 75 Barker Road and get into a gray 2003 Honda
CRV, bearing New York registration HLI-I5086. SURIVAN and VONGXAY proceeded to
10 Campbell Park and backed into the driveway. SURIVAN and VONGXAY entered 10
Campbell Park and, after a brief period, exited the premises SURIVAN was observed leaving
the premises with a large black garbage bag from 10 Campbell Park, which he loaded into the
rear of his vehicle. Both subjects then entered the vehicle and drove away. Constant physical
surveillance was conducted on the vehicle from 10 Campbell Park until it was stopped on l-
81 in the Town of` Triangle by NYSP Troopers Nicholas .l ones and Mark Ciccotti for not
having a front license plate on their vehicle. During this traffic stop, the Troopers detected an
odor of marijuana upon initial contact Verbal admissions of possession of marijuana were
made by SURIVAN and over 10 pounds of marijuana was located inside a black garbage bag
inside the vehicle. Both subjects were taken to the NYSP office in Whitney Point, New York,
and charged with the class C felony of Criminal possession of marijuana in the first degree,
New York State Penal Law 221 .30.

24. On numerous occasions during this investigation ESFRAIM ROTI-l and
h/[ENACHEM SKOLNIK were observed by NYSP surveillance conducting activity at 10
Campbell Park. The result of this investigation shows ADAM PUTZ, ESFRAll\/f ROTI-l,
and MENACH]~EM SKOLNIK are acting in concert with the owners and residents of 10

Campbell Park to traffic marijuana in the Rochester area. Your affiant asserts, based on his

12

Case 6:18-mj-00542-.]WF Document 1 Filed 03/05/18 Page 24 of 71

training and experience, that evidence associated with the sale and/ or possession of
marijuana and proceeds from the sale of marijuana may be located inside 10 Campbell Park.

25. On .1 anuary 18, 2017, NYSP physical surveillance observed ESFRAIM ROTH
and MENACHEM SKOLNIK as they arrived at 10 Campbell Park operating the .leep
Cherokee, bearing New York State registration GXR9150. lnvestigators observed ROTl-I and
SKOLNIK enter 10 Campbell Park and exit the residence, a short time later, holding a large
bag lnvestigators witnessed them placing the bag into the Jeep Cherokee and leave together in
the leep Cherokee. 7

26. On January 30, 2017, NYSP physical surveillance observed ESFRAIM ROTl-I
backing into the driveway at 10 Campbell Park while operating the Jeep Cherokee, New York
State registration GXR9150. At the same time, NYSP observed ADAM PUTZ arriving at 10
Campbell Park driving a 2011 Subaru lmpreza, bearing New York registration HLJ6856.
ROTH and PUTZ met and proceeded to enter 10 Campbell Park together A short time later,
ROTH and PUTZ exited the residence to gether~ each holding two Postal boxes and one large
black trash bag They were then observed placing these items into the leep Cherokee and
leaving the area. NYSP surveillance followed both vehicles, the Cherokee operated by ROTH
and the lmpreza operated by PUTZ, to 14 Franklin Street in Rochester, New York.

27 . On January 31, 2017, NYSP physical surveillance observed ESFRAIM ROTH
driving the Jeep Cherokee and backing into the driveway of 10 Campbell Park. ROTH was
observed entering 10 Campbell Park. A short time later, ROTl-I exited 10 Campbell Park
holding two Postal boxes and one large black trash bag. He proceeded to place all the items
into the Jeep Cherokee and leave the area. NYSP followed the deep Cherokee until ROTH

pulled over in the area of St. Paul Street and the inner loop in Rochester, New York and

13

Case 6:18-mj-00542-.]WF Document 1 Filed 03/05/18 Page 25 of 71

conducted counter-surveillance on the NYSP surveillance vehicle and surveillance ceased.

28. On February l, 2017, NYSP lnvestigator Happ conducted surveillance on
PUTZ and ROTI-l. lnvestigator Happ observed PUTZ and ROTI-l parking both of their
vehicles in the garage of 14 Franl<lin Street in Rochester, New York. NYSP performed a
utilities check of 14 Franklin Street and discovered ADAM PUTZ resides at 14 Franklin
Street, Apartment 507. Further investigation by NYSP revealed that ESFRAIM ROTH
resides at 14 Franklin Street, Apart:ment 503.

29. The boxes NYSP observed being removed nom 10 Campbell Park by PUTZ,
SKOLN]K, and ROTH were visually consistent with the parcels that had previously been seized
during the investigation Each of these seized parcels has contained over 10 pounds of marijuana
Using this knowledge, along with his training and experience in narcotics investigations
lnvestigator Happ applied for and received state search warrants for the premises at both 14
Franklin Street, Apartment 503 and 14 Franklin Street, Apartrnent 507.

30. On February 14, 2017 the search warrants were executed at 14 Franklin Street,
Apartment 503, and 14 Franklin Street, Apartment 507. As a result, NYSP recovered and seized
approximately 80 pounds of marijuana and approximately $59,000.000 in U.S. currency. ln
addition, multiple Postal boxes were seized from the site. These boxes were consistent with
others observed during this investigation

31. On multiple occasions during the course of this investigation NYSP surveillance
has noted the presence of JAl\/HES VONGXAY at 10 Campbell Park. The result of this
investigation shows VONGXAY, who is an intermittent resident of 10 Campbell Park, is
acting in concert with the owners and residents of 10 Campbell Park. Your affiant asserts

based on his training and experience, that evidence associated with the sale and/ or possession

14

Case 6:18-mj-00542-.]WF Document 1 Filed 03/05/18 Page 26 of 71

of marijuana and proceeds from the sale of marijuana may be located inside 10 Campbell
Park.

32. On June 6, 2017, JAMES VONGXAY was observed during NYSP surveillance
at 10 Campbell Park. lnvestigators observed VONGXAY removing a book bag nom inside 10
Campbell Park and placing it into a Ford Ed.ge, bearing New York registration H.`IJ1841.
lnvestigators also observed VONGXAY remove a cardboard box from a BMW parked at 10
Campbell Park and place it into the Ford Edge. lnvestigators then saw VONGXAY and an
unknown white male the area in the Ford Edge- The unknown white male was operating the
Ford Edge and VONGXAY was sitting in the passenger seat NYSP continued surveillance on
the Ford Edge from its departure nom 10 Campbell Park through its arrival at 310 Village 1[
Drive in the Vi]lage of Hilton, Town of Parma, New York. NYSP Trooper Manibanseng
observed VONGXAY and the unknown white male exit the Ford Edge and carry a cardboard
box, the book bag from 10 Campbell Park, and unknown items which were covered by clothing
Trooper Manibanseng then saw them enter 310 Village 11 Drive and proceed to the second floor.
Trooper Manibanseng then observed the unknown white male exiting 310 Village ll Drive and
driving to the Family Dollar store near Route 259 and Village 11 Drive. NYSP surveillance then
observed the unknown white male enter the Family Dollar and purchase scissors and candy.
The unknown male was then observed exiting Family Dollar, driving back to 310 Vi]lage ll
Drive, and entering the residence through the front door.

33. An address check by NYSP revealed that TYLER KREUZER resides at 310
Village ll Drive, Apartment E, Hilton, New York. Later that day, KREUZER , VONGXAY,
and the unknown white male were observed exiting the second floor of 310 Village 11 Drive and

entering the Subaru Impreza operated by PUTZ. They were then observed driving to the rear

15

Case 6:18-mj-00542-.]WF Document 1 Filed 03/05/18 Page 27 of 71

of the apartment complex A short time later, all three males returned to 310 Vi]lage 11 Drive;
entered the front of the building; and proceeded to the second floor. Trooper Manibanseng
entered 310 Vi]lage 11 Drive and walked to the second floor. Trooper Manibanseng walked to
apartment E on the second floor and could hear several males talking and the sound of scissors
snipping something Trooper Manibanseng could smell a strong odor of fresh marijuana coming
from inside apartment E.

34. A short time later, NYSP observed an unknown`white female and unknown
white male arrive at 310 Village ll Drive operating a 1993 Chevrolet pickup truck, bearing New
York registration GAX-9602. The unknown white male was observed exiting the passenger seat
of the truck and entering the nont door of 310 Village 11 Drive empty-handed A few minutes
later, the same unknown white male exited 310 Village ll Drive holding a gym bag and entered
the pickup truck The pickup truck then departed the area

35. Using this mformation, NYSP applied for and received a state search warrant for
the premises at 310 Village 11 Drive. On llune 6, 2017 the search warrant Was executed at 310
Village ll Drive and resulted in the seizure of approximately l pound of marijuana and $3,000
in U.S. Currency.

36. During the course of this investigation additional activity has been observed in
and around 10 Campbell Park that leads your affiant to assert, based on his training and
experience, that evidence associated with the sale and/ or possession of marijuana and
proceeds from the sale of marijuana may be located inside 10 Campbell Park.

37. On June 19, 2017, members of the NYSP Community Narcotics Enforcement
Team (CNET) observed JULIO SURILLO remove a larger black garbage bag from 10

Campbell Park. SURILLO was observed placing this garbage bag into the trunk of his

16

Case 6:18-mj-00542-.]WF Document 1 Filed 03/05/18 Page 28 of 71

vehicle, New York registration I-IRX-9203, and leaving the area. At approximately 4;25 PM,
NYSP Trooper Eallonardo observed a white 2002 Toyota Camry, New York registration
HRX-9203, proceeding northbound on Glide Street in Rochester, New York. Following a
traffic violation at the intersection of Glide Street and Emerson Street, Trooper Eallonardo
conducted a traffic stop on the Camry at McNaughton Street just south of Emerson Street
Trooper Eallonardo identified the operator of the Camry as JULIO C. SURILLO- During
his conversation with SURILLO, Trooper Eallondaro detected the odor of burnt marijuana
from inside the vehicle VVhen Trooper Eallonardo questioned him, SURILLO acknowledged
the odor and stated a female occupant had recently "smoked weed" in the car. SURILLO was
detained and a vehicle search revealed a large trash bag in the trunk which contained
suspected marijuana SURILLO was arrested, the trash bag was secured, and the Camry was
impounded

38. NYSP completed a field test on the suspected marijuana which resulted in a
positive test for the presence of THC. The marijuana was weighed using a certified scale at
the NYSP office in Rochester revealing 15.4 pounds The marijuana was later placed into
evidence at NYSP CNET"s Western Office. SURILLO was arrested and charged with
Criminal Poss_ession of Marijuana. n

39. ln 2017, the exact date being withheld to protect the cooperating witness’
identity, NYSP Investigators spoke with a cooperating witness (“CW 1”) regarding the
marijuana distribution and trafficking activities of the co-conspirators in this case, specifically
KOHNESAVANH VONGXAY and PHOUMANO DUANGTAVILAY. CW 1 was
arrested in 2017 and charged with state drug trafficking offenses CW 1 pled guilty to state

charges and agreed to cooperate with law enforcement in the investigation of other drug

17

Case 6:18-mj-00542-.]WF Document 1 Filed 03/05/18 Page 29 of 71

traffickers as part of his plea agreement CW 1’s reliability has'been established through
substantial corroboration by the investigators of information provided by CW l

40. CW l informed investigators that VONGXAY and DUANGTAV[LAY were
trafficking marijuana from the residence at 10 Campbell Park. CW` 1 stated he purchased
marijuana from co-conspirators at 10 Campbell Park on numerous occasions When NYSP
lnvestigators asked CW 1 if he knew how VONGXAY and DUANGTAVILAY procured
marijuana for sale, CW 1 stated VONGXAY and DUANGTAVILAY got marijuana from a
source in California. CW l stated VONGXAY and DUANGTAVILAY, or their associates
would fly to California and purchase marijuana They would purchase the marijuana from
suppliers with money orders, rent a room at an Aianb or hotel, prepare the marijuana for
shipment and mail it back to Rochester, New York. CW 1 stated VONGXAY and
DUANGTAVILAY, or their associates would repackage the marijuana in cardboard boxes and
mail it from California U.S. Post Offices back to Rochester.

41. On .lune 27, 2017 a photographic image of VONGXAY and
- DUANGTAVILAY was captured at a USPS self-service kiosk (hereinafter “SSK”) in Los
Angeles, California. The image was one routinely recorded by the SSK to document
purchases at the machine. Postal lnspectors examined the purchase information from the
SSK and discovered the postage purchased was used to mail a parcel to 10 Wait Street,
Rochester, New York.

42. On September 8, 2017, your affiant was alerted to the following outgoing

Priority Mail Express envelope that was suspected to contain proceeds of narcotics sales:

18

Case 6:18-mj-00542-.]WF Document 1 Filed 03/05/18 Page 30 of 71

USPS Tracking number EL 758 576 365 US

To: Chris Duong From: Chandy V
13200 Casa Linda Ln, Apt # 4 17 Campbell Pk
Garden Grove, CA 92844 Rochester, NY 14606

43. On September 13, 2017, a search warrant for the Priority Mail EXpress
envelope was executed and it was found to contain $4,000.00 in USPS, Western Union, and
MoneyGram money orders. The money orders and associated serial numbers were recorded
and returned to the mail stream. lt should be noted that the residence at 17 Campbell Park is
located across the street from 10 Campbell Park.

44. On October 9, 2017 DAROUNSAK DAOREUANG and PHOUMANO
DUANGTAVILAY flew from Buffa-lo, New York to Los Angeles, California on JetBlue,
flight number 491. DUANGTAVILAY, who is the owner and resident of 10 Campbell Park,
has been observed transporting packages suspected of containing marijuana
DUANGTAVILAY and DAOREUANG returned to Buffalo, New York on October 13,
2017. While they were in California1 there were 16 parcels of suspected marijuana mailed to
known addresses in Rochester, including one to 679 Eaton Road that was delivered on
October 14, 2017. Another parcel mailed at the same time, sent to 95 Taft Avenue, was
intercepted by Postal Inspectors. Inspectors secured and executed a search warrant on that
parcel and found it to contain 8 pounds of marijuana

45. Between February 2 and August 31, 2017, PHOU DAOREUANG was
observed by NYSP surveillance on 35 separate dates carrying at least 75 parcels into the
residence at 10 Campbell Park. This occurred on several of the same dates that suspected
marijuana parcels were delivered to his home address at 679 Eaton Road. T he parcels carried

into the residence at 10 Campbell Park were visually consistent to those that have been

19

Case 6:18-mj-00542-.]WF Document 1 Filed 03/05/18 Page 31 of 71

determined to contain marijuana On October 13, 2017, DAOREUANG was observed
delivering 4 parcels suspected of containing marijuana to 10 Campbell Park and they were
taken inside the residence

46. The residence at 202 Rand Street has been identified as another location used
by the organization to receive suspected marijuana parcels from California. On June 23, 2017,
your affiant intercepted a parcel destined for 202 Rand St. sent from California. A search
warrant was executed on the parcel and it was found to contain 8 pounds of marijuana
Between August 14, 2015 and October 19, 2017, there were 178 packages delivered to 202
Rand Street Rochester NY 14615, all shipped from various locations in California. The
packages ranged in size from 3 to 20 pounds with the large majority between 10 and 17
pounds

47. On at least 20 occasions, the residents of 202 Rand Street have been observed
carrying postal boxes and large garbage bags into the residence at 10 Campbell Park.

48. On March 6, 2017, NYSP surveillance observed KONGDEUANE
VONGXAY arriving at 10 Campbell Park operating the Toyota Tacoma pick-up truck,
bearing New York registration HMP-5453, at approximately 4:5 5 pm. NYSP then observed
KHONESAVANH VONGXAY walking to the end of the driveway and performmg counter-
survei]lance by looking up and down the street as KONGDEUANE VONGXAY removed a
brown cardboard box with Postal markings from the back seat of the Tacoma and took it
inside the residence This same Toyota Tacoma has been utilized on other occasions to
transport similar boxes.

49. Between August 2015 and January 19, 2018, records show that 10 Campbell

Park has received at least 40 parcels that are similar to the previously intercepted parcels,

20

Case 6:18-mj-00542-.]WF Document 1 Filed 03/05/18 Page 32 of 71

and which are suspected of containing marijuana, from various locations in California.
These 40 parcels have weighed a combined 350 pounds, and the most recent such parcel
was on .lanuary ll, 2018 when USPS delivered an almost 4 pound parcel to 10 Campbell

Park that was sent from Anaheim, California.

Il. 17 Campbell Park

50. The residence at 17 Campbell Park has been identified as a location used by the
organization to receive suspected marijuana parcels from California. On lanuary 9, 2018, 17
Campbell Park, Rochester, New York, 14606, received a parcel from Fullerton, Ca]ifornia
weighing 9 pounds and was of similar size, weight, and origin to previous parcels involved in
this investigation that were intercepted by Postal lnspectors and which contained marijuana

51. Beginning in September 2017 and continuing into February 2018, NYSP
surveillance has observed coconspirators in this case walking back-and~forth between 10
Campbell Park and 17 Campbell Park. The addresses are across the street nom each other and
the owner of` 17 Campbell Park, Mike Sypaseuth, has been observed entering the residence at 10
Campbell Park on numerous occasions

52. ln 2017, the exact date being withheld to protect the confidential witness’
identity, NYSP investigators spoke with a reliable confidential witness (hereinafter “CW 1”)
regarding the marijuana distribution and trafficking activities of the coconspirators in this
case, specifically KOHNESAVANl-l VONGXAY and PHOUMANO DUANGTAVILAY.
CW l was arrested on February 14, 2017 for criminal possession of marihuana in the first
degree by the New York State Police. CW 1 pled guilty to one count of criminal possession

of marihuana in the Hrst degree, NYPL 221 .30, and agreed to cooperate with law enforcement

21

Case 6:18-mj-00542-.]WF Document 1 Filed 03/05/18 Page 33 of 71

in the investigation of other drug traffickers as part of his plea agreement

5 3. CW l informed investigators that VONGXAY and DUANGTAVILAY were
traHicking marijuana from the residence at 10 Campbell Park. CW 1 stated he purchased
marijuana from coconspirators at 10 Campbell Park on numerous occasions When NYSP
investigators asked CW l if he knew how VONGXAY and DUANGTAVILAY procured
marijuana for sale, CW l stated VONGXAY and DUANGTAVILAY got marijuana from a
source in Ca]ifornia CW l stated VONGXAY and DUANGTAV]LAY, or their associates,
fly to Califomia and purchase marijuana They purchase the marijuana with money orders, rent
a room at an Air BnB or hotel, and mail it back to Rochester, New York. While in California,
CW l stated VONGXAY and DUANGTAVILAY, or their associates, purchase the marijuana
from a supplier and take it to a room at a local hotel or Air BnB. Once they get back to the hotel
or Air BnB room, VONGXAY and DUANGTAV]LAY, or their associates, repackage the

marijuana in cardboard boxes and mail from California U.S. Post Oflices back to Roche'ster.

54. NYSP investigators queried CW l for information related to the purchase of
marijuana When arrested, CW 1 was in possession of a blank $500.00 Western Union money
order. NYSP investigators asked why he had the money order and CW l said that was the way
VONGXAY and DUANGTAVILAY like to be paid. When NYSP investigators asked why
they liked to be paid with blank money orders, CW l said VONGXAY and DUANGTAVILAY
allowed payment for marijuana in cash or blank money orders. CW 1 explained that they liked
to be paid in blank money orders because that is how they paid their supplier for the product
Accepting payment in blank money orders allowed VONGXAY and DUANGTAVILAY to
pay for new marijuana product by passing on the blank money orders instead of converting cash

to new money orders.

22

Case 6:18-mj-00542-.]WF Document 1 Filed 03/05/18 Page 34 of 71

55. On September 8, 2017, your affiant intercepted the following outgoing Priority
Mail Express envelope that was suspected to contain proceeds of narcotics sales:

USPS Tracking number EL 758 576 365 US

To: Chris Duong From: Chandy V
13200 Casa Linda l_,n, Apt # 4 17 Campbell Pk
Garden Grove, CA 928-44 Rochester, NY 14606

56. On September 13, 2017, a search warrant for the Priority Mail Express
envelope was executed and it was found to contain $8,000.00 in USPS, Westem Union, and
MoneyGram money orders The money orders and associated serial numbers were recorded
and returned to the mail stream. The sender of this Priority Mail Express envelope, “Chandy
V” has been identified as CHANDY VONGXAY, a co-conspirator in this investigation In
addition, and as previously noted, the residence at 17 Campbell Park is located across the
street from 10 Campbell Park.

5 7. On September 16, 2017 at approximately 2:50 pm, NYSP surveillance observed
PHOUMANO DUANGTAVILAY leaving 10 Campbell Park operating the black AUDl Q5.
At approximately 2:51 pm, DUANGTAVILAY was observed parking in front of 75 Barker
Street and exiting the AUDI Q5. DUANGTAVILAY then entered 75 Barker and, at
approximately 2:54 pm, he was observed exiting the residence carrying a white bag with
handles that appeared to be full and distended with contents in the shape of a rectangular boX.
DUANGTAV[LAY placed the white bag into the rear of the AUDl Q5 and departed the
area. At approximately 2:56 pm, another AUDI sedan, known by NYSP to be the vehicle of
a known marijuana customer, was observed approaching 17 Campbell Park and parking on
the street in front of the residence. Shortly thereafter, DUANGTAV]LAY is observed

approaching and passing the AUDI sedan in the AUDI Q5. DUANGTAVILAY was then

23

Case 6:18-mj-00542-.]WF Document 1 Filed 03/05/18 Page 35 of 71

observed pulling into the driveway at 17 Campbell Park. At this point, the AUDI sedan is
observed following the AUDI Q5 into the driveway at 17 Campbell Park. At approximately
3:00 pm, NYSP surveillance observed the AUDI sedan departing the area. At approximately
3:01 pm, DUANGTAV]LAY was observed walking across the street to 10 Campbell Park
empty-handed

58. On January ll, 2018, your afiiant noticed the following Priority Mail parcel
during a review of incoming mail:

USPS Priority Mail Tracking Number 9505 8156 2331 8009 1557 36

To: Minh Danh From: Chris D
17 Campbell Pk 1212 W Commonwealth Av
Rochester, NY 14606 Fullerton, CA 92833

The parcel was received in Rochester on January ll, 2018, with 2 other parcels originating
from West Commonwealth Avenue in Fullerton, California and destined for addresses in

Rochester, New York:

USPS Priority Mail Tracking Number 9505 8138 5942 8009 0927 53

To: Miguel Martinez From: Chris D
77 Ave C. 1212 W Commonwealth Av
Rochester, N.Y. 14621 Fullerton, CA 92833

USPS Priority Mail Tracking Number 9505 5000 1354 8009 0000 24

To: lenson Bui From: Michael L
75 Barker St 340 W. Commonwealth Ave
Rochester, NY 14611 Fullerton, Ca 92836

59. Federal search warrants were executed on both parcels. The parcel destined
for 77 Avenue C, Rochester, New York, 14621, bearing USPS tracking number 9505 8138

5942 8009 0927 53, was found to contain approximately 10 pounds, 9.30 ounces of green,

24

Case 6:18-mj-00542-.]WF Document 1 Filed 03/05/18 Page 36 ot 71

leafy substance that field-tested positive for marijuana The parcel destined for 75 Barker
Street, Rochester, New York, 14611, bearing USPS tracking number 9505 5000 1354 8009
0000 24, was discovered to contain approximately 6 pounds, 4.25 ounces of green, leafy
substance that field-tested positive for marijuana ln addition, since the postage for the parcel
destined for 75 Barker Street was purchased at a USPS self-service kiosk (SSK) at Anaheim
Post Offlice, Anaheim, California, photographic images of the transaction were recovered
The person recorded utilizing the SSK to mail the parcel to 75 Barker Street was identified as

PHOUMANO DUANGTAVILAY, a co-conspirator in this investigation

111. 75 Barker Street

60. The residence at 75 Barker Street has been identified as a location used by the
organization to receive suspected marijuana parcels from California. On January 9, 2018,
your affiant intercepted a parcel destined for 75 Barker Street sent from California. A search
warrant was executed on the parcel and it was found to contain approximately 6 pounds of
marijuana Between June 2016 and January 9, 2018 there were 76 parcels delivered to 75
Barker Street that were all shipped from various locations in California. These parcels ranged
in size from 3 to 23 pounds with the majority between 9 and 18 pounds and are of` similar size
and origin of other packages involved in this investigation known to contain marijuana

61. The residents of 75 Barker Street are KEITH SURIVAN and CHANDY
VONGXAY. During the course of the investigation a 2011 Honda Accord color black,
bearing New York registration l-lLl-l-4153, registered to KEITH SURIVAN has been observed
at 10 Campbell Park on numerous occasions being utilized to transport cardboard boxes with

Postal marking and large plastic garbage bags into and out of the residence. These boxes and

25

Case 6:18-mj-00542-.]WF Document 1 Filed 03/05/18 Page 37 ot 71

plastic bags are visually similar in size and nature to other boxes and bags observed at the
residence which were later determined to contain marijuana

62. On January 6, 2017, NYSP lnvestigators conducted a garbage pick at 10
Campbell Park and recovered multiple empty USPS cardboard parcel boxes. When the tracking
number on these parcels where checked against Postal records by inspector Hawkins, lnspectors
discovered the follong destination addresses, which are associated with this organization: 75
Barker Street, Rochester, New York, 14611, 371 Llay Street, Rochester, New York, 14611, and
679 Eaton Road, Rochester, New York, 14617.

63. On January 18, 2017, lnvestigator Happ observed KEITH SURIVAN and
CHANDY VONGXAY exit the residence at 75 Barker Street and get into a. gray 2003 Honda
CRV, bearing New York registration H:LI-l5086. SURIVAN and VONGXAY proceeded to
10 Campbell Park and backed into the driveway SUR_IVAN and VONGXAY then entered
10 Campbell Park and, after a brief period, exited the premises SURIVAN was observed
leaving the premises with a large black garbage bag from 10 Campbell Park, which he loaded
into the rear of his vehicle Both subjects then entered the vehicle and drove away. Constant
physical surveillance was conducted on the vehicle from 10 Campbell Park until it was
stopped on 1-81 in the Town of Triangle by NYSP Troopers Nicholas J ones and Mark Ciccotti
for not having a front license plate on their vehicle. During this trafiic stop, the Troopers
detected an odor of marijuana upon initial contact Verbal admissions of possession of
marijuana were made by SURIVAN and over 10 pounds of marijuana was located inside a
black garbage bag inside the vehicle Both subjects were taken to the NYSP office in Whitney
Point, New York, and charged with the class C felony of Criminal possession of marijuana

in the first degree, New York State Penal Law 221.30.

26

Case 6:18-mj-00542-.]WF Document 1 Filed 03/05/18 Page 38 ot 71

64. On .lune 2, 2017 at approximately 2:00 pm, NYSP surveillance observed
KElTl-l SURIVAN arriving at 10 Campbell Park in the 2011 Honda Accord and proceeding
to remove black plastic garbage bags (the garbage bags had a flat shape and appeared to
contain compressed boxes) from the trash cans at the end of the driveway and place them into
the trunk of the Honda SURIVAN was then observed departing the residence.

65. On July 28, 2017, three parcels were delivered to 75 Barker Street, one of which
was a large brown cardboard box. At approximately 2255 pm, CHANDY VONGXAY
arrived in a white Ford Edge, bearing New York registration NY HJJ-1841. NYSP
surveillance observed VONGXAY exiting the residence carrying a large brown cardboard
box and a green reusable bag that appeared to be full and distended with contents
VONGXAY then placed the bag and box into the Edge and departed the residence. She then
proceeded to 10 Campbell Park and backed into the driveway close to the garage
Kl-IONESAVANH VONGXAY was observed exiting the residence and quickly removing
the brown cardboard box from the vehicle KHONESAVANl-I VONGXAY then took the
box into the house, while CHANDY VONGXAY entered the residence carrying the bag.

66. On July 28, 2017, NYSP surveillance observed KElTl-I SURlVAN loading
plastic garbage bags from 10 Campbell Park into his 2011 Honda Accord, bearing New York
registration HLl-I-4153. SURIVAN then drove to All County Embroidery located at 1227
Ridgeway Ave, Rochester, New York, and disposed of the garbage bags in the dumpster there
All County Embroidery is owned by PI-IOUNANG DAOREUANG, who is a co-conspirator
in this investigation

67. On August 6, 2017 at approximately 2:46 pm, NYSP surveillance observed

KEITH SURIVAN getting into his 2011 Honda Accord, bearing l\lew York registration

27

Case 6:18-mj-00542-.]WF Document 1 Filed 03/05/18 Page 39 ot 71

I-lLI-I-4l53, that was parked in front of 75 Barker Street SURIVAN was then observed
driving to 10 Campbell Park. Once he arrived at 10 Campbell Park, SURIVAN was met at
the end of the driveway by KI-IONESAVANH VONGXAY. SURIVAN exited the vehicle
and opened the Honda’s trunk to remove a large black plastic garbage bag that appeared to
be full and distended with contents and is similar to previous bags later determined to contain
marijuana SURIVAN then departed the area and VONGXAY took the bag into the
residence.

68. On August 9, 2017 at approximately 1:29 pm, NYSP surveillance observed
KHONESAVANI-l VONGXAY speaking with CHANDY VONGXAY on the sidewalk in
front of 10 Campbell Park. After some time, CHANDY VONGXAY entered 10 Campbell
Park and KHONESAVANl-I VONGXAY left the area and walked 75 Barker Street, Upon
arrival at 75 Barker Street, KHONESAVANI-l VONGXAY got into the driver’s seat of the
2011 Honda Accord, bearing New York registration HLH-4153, that was parked in front of
the house She then drove to 10 Campbell Park, backed into the driveway close to the house
and removed two large black plastic bags that appeared to be full and distended with contents
and are similar to previous bags later determined to contain marijuana, from the trunk of the
Honda She then took the bags into the residence at 10 Campbell Park.

69. On October 9, 2017 DAROUNSAK DAOREUANG and Pl-IOUMANO
DUANGTAV[LAY flew from Buffalo, New York to Los Angeles California on JetBlue
flight number 491. DUANGTAVILAY is the owner and resident of 10 Campbell Park. On
numerous occasions NYSP surveillance has observed DUANGTAVILAY transporting
packages suspected of containing marijuana DAOREUANG and DUANGTAV]LAY

returned to Buffalo, l\lew York on October 13, 2017. While DAOREUANG and

28

Case 6:18-mj-00542-.]WF Document 1 Filed 03/05/18 Page 40 ot 71

DUANGTAV[LAY were in Califomia, there were 16 parcels of suspected marijuana mailed
to known addresses in Rochester, including one to 75 Barker Street which was delivered on
October 12, 2017. Another parcel mailed at the same time, sent to 95 T aft Avenue, was
intercepted by Postal lnspector Landen l-lawkins. A federal search warrant was executed on
that parcel and it was found it to contain approximately 8 pounds of marijuana ln addition,
images were pulled from the self-service kiosk (SSK) at the Alhambra Post Office in
Alhambra, Ca]ifornia Those images show PHOUMANO DUANGTAVILAY purchasing
the postage indicia used to mail the seized parcel that contained marijuana

70. As of lanuary 19, 2018, 75 Barker Street has received at least 76 parcels that
are consistent with packages previously used by this organization and which were later
determined to contain marijuana Further, these packages came from various locations in
California, and the most recent was the parcel intercepted by your aHiant on January 11, 2018

and was found to contain approximately 6 pounds of marijuana

IV. 95 Taft Avenue

71. The residence at 95 Taft Avenue has been identined as a location used by the
organization to receive suspected marijuana parcels from Ca]ifornia Between August 2015
and January 31, 2018, 95 Taft Avenue, Rochester, New York, 14609, has received at least 71
parcels suspected of containing marijuana, all shipped from various locations in Califomia.
The packages ranged in size from 7 to 20 pounds with an average weight of approximately 13
pounds per parcel. The parcels are of similar size, weight, and origin to previous parcels

intercepted by Postal lnspectors that contained marijuana

29

Case 6:18-mj-00542-.]WF Document 1 Filed 03/05/18 Page 41 ot 71

72. The residents of 95 Taft Avenue are VIENGTHONG DAOREUANG and
DAROUNSAK DAORUANG, and EDDlE DAOREUANG. On numerous occasions
during this investigation, a white 2017 Honda Civic, bearing New York registration HNU-
2461, registered to VIENGTHONG' DAOREUANG, and a red 2015 Toyota 4Runner,
bearing New York registration FCW-7337, registered to DAROUNSAK DAORUANG,
have been observed by NYSP surveillance at 10 Campbell Park, Rochester, New York, 14606.
The vehicles have been observed transporting cardboard boxes with Postal markings and large
plastic garbage bags into and out of the residence These boxes are similar in size and nature
to other boxes described above that were later determined to contain marijuana ln addition,
the plastic garbage bags appeared full and distended with contents often displaying the outline
of a rectangular box inside

73. On Llanuary 5, 2017, a parcel from Los Angeles, California weighing
approximately 14 lbs. was delivered to 95 Taft Avenue by USPS letter carrier. At
approximately 3:23 pm, NYSP surveillance observed PHOU DAOREUANG arriving at 10
Campbell Park operating the red 2015 TOYOTA 4Runner, bearing New York registration
FCW-7337. DAOREUANG was observed backing into the driveway close to the entrance
door by the garage at the front of the residence. l-le was then observed opening the rear tailgate
of the TOYOTA 4Runner and removing a large black garbage bag that appeared full and
distended with contents DAOR_EUANG was then observed handing the bag to someone
inside the residence. He was then observed removing 2 large brown cardboard boxes one of
which had Postal markings from the rear of the TOYOTA 4Runner. l-le was then observed
carrying both parcels into the residence. At approximately 3:24 pm, NYSP surveillance

observed a known marijuana dealer, Joe Brown, exiting the residence at 10 Campbell Park

30

Case 6:18-mj-00542-.]WF Document 1 Filed 03/05/18 Page 42 ot 71

carrying a large black garbage bag. Brown placed it into his own vehicle and departed the
area Moments later, DAOREUANG was observed exiting the residence empty-handed and
departing the area in the TOYOTA 4Runner.

74. Pl-IOU DAOREUANG resides at 679 Eaton Road, Rochester, New York
14617. He is believed to be the brother of DAROUNSAK DAOREUANG, resident of 95
Taft Avenue, and is a co-conspirator in this investigation As of January 31, 2018, there have
been 133 suspected marijuana parcels from California delivered to 679 Eaton Road. On
numerous occasions NYSP surveillance has observed Pl-IOU DAOREUANG delivering
boxes with Postal markings to 10 Campbell Park on the same day that he received suspected
marijuana parcels from California at his residence.

75. On May 19, 2017, NYSP surveillance observed 2 parcels bearing Postal
markings being delivered by USPS - one to 679 Eaton Road, and one to 495 Taft Avenue.
Both parcels appeared visually consistent with parcels previously found to contain marijuana
(as described above). At approximately 4:00 pm, PHOU DAOREUANG was observed
delivering both parcels to 10 Campbell Park.

76. On June 28, 2017, NYSP surveillance observed 3 parcels bearing Postal
markings being delivered by USPS- _ two to 679 Eaton Road, and one to 95 Taft Avenue.
Both parcels appeared visually consistent with parcels previously found to contain marijuana
(as described above). At approximately 2203 pm, PHOU DAOREUANG was observed
delivering both parcels to 10 Campbell Park.

77. On luly 26, 2017, NYSP surveillance observed 3 parcels bearing Postal
markings being delivered by USPS - two to 679 Eaton Road, and one to 95 Taft Avenue.

Both parcels appeared visually consistent with parcels previously found to contain marijuana

31

Case 6:18-mj-00542-.]WF Document 1 Filed 03/05/18 Page 43 ot 71

(as described above). At approximately 2:09 pm, PHOU DAOREUANG was observed
delivering both parcels to 10 Campbell Park.

78. On July l, 2017, a parcel from Encino, California weighing approximately 11
lbs. was delivered to 95 Taft Avenue by USPS. At approximately 4:00pm, NYSP surveillance
observed DAROUNSAK DAOREUANG arriving at 10 Campbell Park operating the
TOYOTA 4Runner- DAOREUANG stopped in the street perpendicular to the driveway
and appeared to be waiting for someone A short-time later, K_l-lONESAVANl-I
VONGXAY, a coconspirator in this case, was observed exiting the residence and walking to
the TOYOTA 4Runner. She was then observed removing a,white plastic garbage bag that
appeared to be full and distended with contents from the back seat of the TOYOTA 4Runner.
She took the bag into the residence and DAROUNSAK DAOREUANG immediately
departed the area

79. On August 7, 2017 at approximately 4:47pm, NYSP surveillance observed
PHOU DAOREUANG arriving at 10 Campbell Park operating the white 2017 Honda Civic,
bearing New York registration HNU-2461, registered to VIENGTHONG DAOREUANG at
95 T aft Avenue. PI-IOU DAOREUANG backed into the driveway near the garage door and
unloaded two cardboard boxes with Postal markings from the rear of the vehicle and took
them into the residence. Earlier that day, a suspected marijuana parcel from California was
delivered to Pl-IOU DAOREUANG’s address at 679 Eaton Road. Joe Brown, a known
marijuana dealer was present and inside the house while this occurred

80. On October 9, 2017 DAROUNSAK DAOREUANG and PHOUMANO
DUANGTAVILAY flew from Buffalo, New York to Los Angeles California on JetBlue,

flight number 491. DUANGTAVILAY, who is the owner and resident of 10 Campbell Park,

32

Case 6:18-mj-00542-.]WF Document 1 Filed 03/05/18 Page 44 ot 71

has been observed transporting packages suspected of containing marijuana
DUANGTAV[LAY and DAOREUANG returned to Buffalo, New York on October 13,
2017. While DAROUNSAK DAOREUANG and PI-IOUMANO DUANGTAVILAY were
in California, there were 16 parcels of suspected marijuana mailed to known addresses in
Rochester, including one to 679 Eaton Road, the aforementioned residence of PHOU
DAOREUANG that was delivered on October 14, 2017. Another parcel mailed at the same
time, sent to 95 Taft Avenue, was intercepted by Postal inspectors lnspectors secured and

executed a search warrant on that parcel and found it to contain 8 pounds of marijuana

V. 679 Eaton Road

81. The residence at 679 Eaton Road has been identified as a location used by the
organization to receive suspected marijuana parcels from Califomia. Between September 20,
2016 and November 8, 2017, there were 133 packages delivered to 679 Eaton Rd, Rochester,
NY, 14617, all shipped from various locations in California The packages ranged in size from
5 to 22 pounds with the majority between 10 and 18 pounds for an average weight of
approximately 12 pounds per parcel. The parcels are of similar size, weight, and origin to
previous parcels intercepted by Postal lnspectors that contained marijuana

82- Throughout the course of this investigation it has been determined by NYSP
surveillance that the residents of 679 Eaton Road, PHOU DAOREUANG and JENALYN
DAOREUANG, operate the following vehicles: a gray 2005 Toyota Avalon color gray,
bearing New York registration HLJ-2l73, and registered to PHOU DAOREUANG, and a gray
2015 Toyota Tundra, bearing New York registration 59735-1\/1E, registered to PHOU
DAOREUANG. NYSP surveillance has observed PHOU DAOREUANG operating the

above vehicles at 10 Campbell Park, Rochester, New York, 14606. Like 679 Eaton Road, 10

33

Case 6:18-mj-00542-.]WF Document 1 Filed 03/05/18 Page 45 ot 71

Campbell Park is a residence in Rochester, New York, used extensively by coconspirators in
this investigation to receive, process and store marijuana On numerous occasions NYSP
surveillance has observed PHOU DAOREUANG utilizing the above vehicles to transport
cardboard boxes with Po'stal markings and large plastic garbage bags into and out of the 10
Campbell Park. These boxes and plastic bags are visually similar in size and nature of other
boxes and bags observed at 10 Campbell Park which were later determined to contain
marijuana

83. Between February 2, 2017, and lanuary l, 2018 NYSP surveillance observed
PHOU DAOREUANG on at least 35 separate dates carrying at least 75 parcels into the
residence at 10 Campbell Park. Oftentimes, PI-IOU DAOREUANG was observed carrying
parcels into 10 Campbell Park the same day that suspected marijuana parcels were delivered
to his home address at 679 Eaton Road. The parcels carried into the residence at 10 Campbell
Park were the same type and description as those previously determined to contain marijuana
On every occasion except one, PHOU DAOREUANG utilized the gray Toyota Avalon,
bearing New York registration l-lLJ-2173, and the gray Toyota Tundra, bearing New York
registration 5 9735-1\/1]3, to transport the parcels

84. On October 9, 2017, DAROUNSAK DAOREUANG, brother of Pl-lOU
DAOREUANG, and PHOUMANO DUANGTAVILAY, a coconspirator in this case, flew
from Buffalo, New York, to Los Angeles California on JetBlue flight number 491.
PHOUMANO DUANGTAVILAY is the owner and resident of 10 Campbell Park,
Rochester, New York, 14606. DUANGTAVILAY has been observed transporting packages
suspected of containing marijuana They returned from California to Buffalo, New York on

October 13, 2017. While they were in Califomia, there were 16 parcels of suspected marijuana

34

Case 6:18-mj-00542-.]WF Document 1 Filed 03/05/18 Page 46 ot 71

mailed to known addresses in Rochester, including one to 679 Eaton Road which was
delivered on October 14, 2017. Another parcel mailed at the same time, sent to 95 Taft
Avenue was intercepted by Postal lnspector Landen Hawkins who executed a federal search
warrant on the parcel and found it to contain approximately 8 pounds of marijuana

85. On October 12 and 13, 2017, there were a total of 4 suspected marijuana parcels
delivered to 679 Eaton Rd. On October 13”1, NYSP surveillance observed PHOU
DAOREUANG loading 4 parcels into his Toyota Tundra at the residence. DAOREUANG
was then observed driving to 10 Campbell Park where he carried the parcels into the
residence.

86. On January 11, 2018, NYSP surveillance observed PHOU DAOREUANG
arriving at 10 Campbell Park in the Toyota Avalon. PHOU DAOREUANG was then
observed entering 10 Campbell Park carrying into the residence a parcel similar in size and
shape to previous parcels known to contain marijuana

87.' Since September 2016, 679 Eaton Road has received at least 133 parcels
suspected of containing marijuana from various locations in California The most recent was

an approximately 7 pound parcel delivered by USPS on November 8, 2017.

Vl. 100 Santee Street

88. The residence at 100 Santee Street has been identified as a location used by the
organization to receive suspected marijuana parcels from California On February l, 2017,
Postal lnspector Landen l-Iawkins intercepted a parcel destined for 100 Santee Street sent
from California A search warrant was executed on the parcel and it was found to contain
over 11 pounds of marijuana Between Decernber 1, 2016 and January ll, 2018, there were

38 packages delivered to 100 Santee Street, Rochester, NY, 14615, all shipped from various

35

Case 6:18-mj-00542-.]WF Document 1 Filed 03/05/18 Page 47 ot 71

locations in California The packages ranged in size from 3 to 16 pounds with an average
weight of approximately 10 pounds and are consistent with the packages used by this
organization that were previously found to contain marijuana

89. Physical surveillance has observed that the occupants of 100 Santee Street,
LEN DUANGTAVILAY and MOUNE DUANGTAVILAY, operate the following
vehicles: 2008 Chevrolet Trailblazer, bearing l\lew York registration l-llA-2790, and a 1998
Honda Accord, bearing New York registration GUU-2215. NYSP surveillance has observed
LEN DUANGTAVILAY and MOUNE DUANGTAVILAY operating the above vehicles
at 10 Campbell Park, Rochester, New York, 14606. Like 10 Campbell Park, 100 Santee Street
is a residence in Rochester, New York, used extensively by coconspirators in this
investigation to receive, process store, and sell marijuana

90. On February 27, 2017, NYSP surveillance observed LEN DUANGTAVILAY
and MOUNE DUANGTAVILAY operating a 2008 Chevrolet Trailblazer, bearing New
York registration HJA-Z 790. The Chevrole Trailblazer was observed arriving at 10 Campbell
Park and LEN DUANGTAVILAY and MOUNE DUANGTAVILAY were exiting the
vehicle LEN DUANGTAVILAY removed a package from the vehicle and took it into 10
Campbell Park. MOUNE DUANGTAVILAY also entered the residence. A short time later,
MOUNE DUANGTAVILAY was observed removing a large black trash bag from inside 10
Campbell Park and placing it into the rear of the Chevrolet Trailblazer.

91. On March 2, 2017, NYSP surveillance observed -MOUNE
DUANGTAVILAY operating the Chevrolet Trailblazer at 10 Campbell Park. MOUNE
DUANGTAVILAY was observed entering 10 Campbell Park and leaving a short time later

with a small plastic bag. She placed the bag into the Chevrolet Trailblazer and departed the

36

Case 6:18-mj-00542-.]WF Document 1 Filed 03/05/18 Page 48 ot 71

area

92. On March 4, 2017, NYSP surveillance observed MOUNE
DUANGTAVILAY operating the Chevrolet Trailblazer at 10 Campbell Park. MOUNE
DUANGTAVILAY was observed entering 10. Campbell Park and leaving a short time later
with a small plastic bag. She placed the bag into the Chevrolet Trailblazer and departed the
area

93. On March 12, 2017, NYSP surveillance observed LEN DUANGTAVILAY
arriving at 10 Campbell Park operating the Chevrolet Trailblazer. LEN DUANGTAVILAY
was observed removing a large bag from inside his vehicle and bringing it into 10 Campbell
Park.

94. On March 18, 2017, NYSP surveillance observed LEN DUANGTAV]LAY
arriving at 10 Campbell Park operating the Chevrolet Trailblazer. LEN DUANGTAVILAY
was observed entering 10 Campbell Park and leaving a short time later with a small white
bag. He placed the bag into the Chevrolet Trailblazer and departed the area

95. On March 20, 2017, NYSP surveillance observed LEN DUANGTAVILAY
arriving at 10 Campbell Park operating the Chevrolet Trailblazer. LEN DUANGTAVILAY
was observed entering 10 Campbell Park and leaving a short time later with a white Postal
parcel. lie placed the parcel into the Chevrolet Trailblazer and departed the area

96. On March 22, 2017, NYSP surveillance observed LEN DUANGTAV]LAY
arriving at 10 Campbell Park operating the Chevrolet Trailblazer. Upon arrival, LEN
DUANGTAVILAY is met by PI-lOUl\/lAl\lO DUANGTAVILAY who performed counter-
surveillance by walking to the edge of Campbell Park and looking up-and-down the street for

a few seconds PHOUMANO DUANGTAVILAY then entered 10 Campbell Park and

37

Case 6:18-mj-00542-.]WF Document 1 Filed 03/05/18 Page 49 ot 71

retrieved a white Postal package NYSP surveillance then observed PHOUMANO
DUANGTAVILAY walk to LEN DUANGTAVILAY ‘S vehicle and hand him the package
through the vehicle’s window. LEN DUANGTAVEAY then pulled away in the Chevrolet
Trailblazer and left the area

97. On l_\/_[arch 30, 2017, NYSP surveillance observed MOUNE
DUANGTAVILAY arriving at 10 Campbell Park operating the Chevrolet Trailblazer. Upon
arrival, l\/_[OUNE DUANGTAVILAY is met by KHONESAVANH VONGXAY.
VONGXAY was then observed removing 2 large black garbage bags from inside 10 Campbell
Park and placing them into the Chevrolet Trailblazer. VONGXAY then took her garbage to
the curb and MOUNE DUANGTAVILAY departed the area

98. ln April 2017, NYSP surveillance observed LEN DUANGTAVILAY and
MOUNE DUANGTAVILAY arriving at 10 Campbell Park on several different occasions

99- On August 10, 2017, NYSP surveillance observed MOUNE
DUANGTAVILAY arriving at 10 Campbell Park operating the Chevrolet 'l`railblazer. Upon
arrival, she was exits the vehicle and enters 10 Campbell Park. lmmediately thereafter,
KHONESAVANH VONGXAY was observed exiting the residence and retrieving 2 Postal
packages and taking them into 10 Campbell Park.

100. On October 9, 2017, PHOUMANO DUANGTAVILAY, son of MOUNE
DUANGTAV]LAY and a Co-conspirator in this investigation, and DAROUNSAK
DAOREUANG, brother of coconspirator PHOU DAOREUANG, flew from Buffalo, New
York, to Los Angeles, California on .letBlue flight number 491. PI-lOUl\/IANO
DUANGTAVILAY is the owner and resident of 10 Campbell Park, Rochester, New York,

14606. DUANGTAVILAY has been observed transporting packages suspected of

38

Case 6:18-mj-00542-.]WF Document 1 Filed 03/05/18 Page 50 ot 71

containing marijuana They returned from California to Buffalo, New York on October 13,
2017. While they were in California, there were 16 parcels of suspected marijuana mailed to '
known addresses in Rochester, including to 100 Santee Street.

101.. On October 12, 2017,_ your affiant noticed the following parcel headed from
California to 100 Santee Street during a review of Postal records:

USPS Tracking number 9505 5000 1354 7284 0000 26

To: Mellisa Tran From: l\/like Tran
100 Santee St 1212 W Commwth`
Rochester, NY 14606-2529 Fullerton, CA 92833

The return address on this parcel, 1212 W. Commonwealth Avenue, Fullerton, CA 92833,
is a return address used on many of the marijuana packages sent from California to co-
conspirators in this case During a review of Postal records your affiant noticed the postage
indicia used to mail this parcel was purchased on October 11, 2017, at a USPS self-service 1
kiosk (SSK) in Anaheim, Ca]ifornia A review of SSK images revealed PHOUMANO
DUNAGTAVILAY, a coconspirator in this case, making the postage purchase at the SSK.

102. On January 10, 2018, your affiant intercepted the following parcel during a
routine review of incoming mail:

USPS Tracking number 9505 8138 5942 8009 0927 53

To: Miguel Martinez From: Chris D.
77 Ave C. 1212 W. Commonwealth Av.
Rochester, NY 14621 Fullerton, CA 92833

Your affiant noticed similarities between this parcel and previous parcels known to
contain marijuana, so the parcel was pulled from the mail stream for further investigation A

federal search warrant was obtained and the parcel was found to contain approximately 10

39

Case 6:18-mj-00542-.]WF Document 1 Filed 03/05/18 Page 51 of 71

pounds of marijuana ln addition, a review of Postal records revealed a number of parcels
sent liom 1212 W. Commonwealth Avenue, Fullerton, California, 92833 to the following
addresses on January 8, 2018 and January 9, 2018:

174 Clay Avenue, Rochester, New York, 14613

17 Campbell Park, Rochester, New York, 14606

75 Barker Street, Rochester, New York, 14611

103. Between December 1, 2016 and January 19, 2018, 100 Santee Street has

received at least 38 parcels suspected of containing marijuana from various locations in

California The most recent was a parcel delivered by USPS on January 11, 2018 sent from

Anaheim, California

VII. 174 Clay Avenue

104. The residence at 174 Clay Avenue has been identified as a location used by the
organization to receive suspected marijuana parcels from California Between August 2015
and January 19, 2018, 174 Clay Avenue, Rochester, New York, 14613, has received at least
120 parcels suspected of containing marijuana, all shipped from various locations in
California. The packages ranged in size from 2 to 20 pounds with the majority between 12
and 19 pounds for an average weight of approximately 14 pounds per parcel. The parcels are
of similar size, weight, and origin to previous parcels intercepted by Postal lnspectors that
contained marijuana

105 . ' On May 1, 2017, Postal lnspector Landen Hawkins intercepted a parcel
destined for 174 Clay Avenue sent from California A search warrant was executed on the
parcel and it was found to containing approximately 2 pounds, 5 ounces of marijuana
Between October 21, 2015 and January 11, 2018, there were 117 packages delivered to 174

Clay Avenue, Rochester, NY, 14613, all shipped from various locations in California The

40

Case 6:18-mj-OO542-.]WF Document 1 Filed 03/05/18 Page 52 of 71

packages ranged in size from 3 to 20 pounds with an average weight of approximately l3
pounds

106. The resident of 174 Clay Avenue, DANISHA FLOYD, operates the following
vehicles: a blue 2005 Audi AS, bearing New York registration l-l§N.L-l417, and gray 2006 Audi
A4, bearing New York registration HN`M~4438, both registered to Danisha Floyd. ln addition,
it has also been determined that FLOYD operates a blue 2004 Honda Accord, bearing New
York registration HGU-1998, registered to JOSEPH AMADIS. NYSP surveillance has
observed DANISHA FLOYD operating the Audi A8 and Honda Accord at 10 Campbell
Park, Rochester, New York, 14606. Like 174 Clay Avenue, 10 Campbell Park is a residence
in Rochester, New York, used extensively by coconspirators in this investigation to receive
and store marijuana FLOYD has been observed utilizing the Audi AS and Honda Accord
to transport cardboard boxes with Postal markings and large plastic garbage bags into and out
of the residence at 10 Campbell Park. These boxes and plastic bags are similar in size and
nature of other boxes and bags observed at the residence which were later determined to
contain marijuana.

107. On March 27, 2017, a parcel from Encino, California weighing approximately
12 pounds was delivered to 174 Clay Avenue by USPS. At approximately 3:09 pm, FLOYD
arrived at 10 Campbell Park operating the Audi AS, bearing New York registration HLN-
1417. FLOYD was observed exiting the Audi AS and entering 10 Campbell Park Carrying a
large brown cardboard box with Postal markings into the residence through the garage entry
door. A few minutes later, she is observed departing the area empty-handed

108. On April 3, 2017 at approximately 2:32 pm, NYSP surveillance observed

DANISHA FLOYD arriving at 10 Campbell Park operating the Audi AS. FLOYD exited

41

Case 6:18-mj-OO542-.]WF Document 1 Filed 03/05/18 Page 53 of 71

the vehicle and entered the residence. Approximately 5 minutes, FLOYD was observed
exiting the residence carrying a large black garbage bag that appeared to be distended and full
with contents1 and similar to bags previously determined to contain marijuana She placed
the bag into the Audi AS and departed the area.

109. On April 8, 2017, a parcel from Los Angeles, California weighing
approximately 14 pounds was delivered to 174 Clay Avenue by USPS. At approximately 4:32
pm, NYSP surveillance observed DANISHA FLOYD arriving at 10 Campbell Park operating
the Honda Accord. FLOYD opened the trunk and removed a black duffel bag and a large
brown cardboard box with Postal markings on it and carried both inside the residence.
Approximately 3 minutes later, FLOYD was observed exiting the residence with only the
black duffel bag. She then placed the bag into the trunk of the Honda Accord and departed
the area.

110. On August 5, 2017, a parcel from Anaheim, California weighing approximately
12 pounds was delivered to 174 Clay Avenue by USPS. At approximately 1101 pm, NYSP
surveillance observed DANlSl-IA FLOYD arriving at 10 Campbell Park operating the Honda
Accord. FLOYD was observed removing a large brown cardboard box with Postal markings
from the vehicle and carrying it into the residence. She departed approximately 4 minutes

later.

111. On August 10, 2017, a parcel from Stockton, California weighing 11 lbs. was
delivered to 174 Clay Avenue by USPS. At approximately 2:00 pm, NYSP surveillance
observed DANISHA FLOYD arriving at 10 Campbell Park operating the Honda Accord.

FLOYD is then observed removing 2 large brown cardboard boxes with Postal markings from

42

Case 6:18-mj-OO542-.]WF Document 1 Filed 03/05/18 Page 54 of 71

the vehicle and carrying them into the residence through the open garage door.
Approximately 4 minutes later she is observed departing the area.

112. On August 11, 2017, a parcel from Fullerton, California weighing 9 pounds
was delivered to 174 Clay Avenue by USPS. At approximately 11:42 am, NYSP surveillance
observed DANISHA FLOYD arriving at 10 Campbell Park operating the Honda Accord.
She was observed exiting the Honda Accord and removing a large brown cardboard box with
Postal markings from the vehicle. She carried the parcel into the residence at 10 Campbell
Park and departed in The Honda Accord approximately 3 minutes later.

113. On September 28, 2017, NYSP surveillance observed FLOYD entering the
driveway of 10 Campbell Park operating the Honda Accord. At approximately 4:29 pm,
FLOYD was observed exiting 10 Campbell Park with a bag that appeared distended and full
with contents FLOYD then entered the passenger side of a tan 2002 GMC Envoy, bearing
New York registration HRX-3227. At 4:40 pm, she exited the vehicle and re-entered 10
Campbell Park with the bag, which appeared tlaccid and empty. At 4:43, she exited the
residence at 10 Campbell Park and departed in the Honda Accord.

114. On January 14, 2018 at approximately 3:38 pm, NYSP surveillance observed
FLOYD operating a Mazda 6, bearing New York registration HRX~9057, entered the
driveway at 10 Campbell Park. FLOYD is then observed exiting the vehicle and meeting
PATHANA VONGXAY at the garage entry door. FLOYD enters the residence empty-
handed and exits a short time later carrying a red plaid bag FLOYD is then observed
departing the area in the Mazda 6.

115 . A short time later, FLOYD is observed driving the Mazda 6 to a meeting with

an unknown person driving a gray 2017 Toyota Camry, on the street in front of 75- Barker

43

Case 6:18-mj-OO542-.]WF Document 1 Filed 03/05/18 Page 55 of 71

Street, 14611 (another target address of this investigation). At approximately 3:42 pm,
FLOYD is observed entering the backseat area of the Toyota Camry carrying the red plaid
bag that appears full and distended with contents At approximately 3:45 pm, FLOYD exits
the Toyota Camry and returns to the Mazda 6 with the red plaid bag, which now appears
tlaccid and empty. At that point, both vehicles departed the area. At approximately 3147 pm,
NYSP surveillance observed FLOYD returning to 10 Campbell Park in the Mazda 6.
FLOYD is observed exiting the vehicle and entering the residence at 10 Campbell Park
carrying the empty red plaid bag and a wad of cash.

116. Between August 2015 and January 31, 2018, 174 Clay Avenue has received at
least 120 parcels consistent with those previously found to contain marijuana from various
locations in California. The most recent was an approximately 13 pound parcel delivered by
USPS on January 11, 2018-

Vlll. 202 Rand Street

117. The residence at 202 Rand Street has been identified as a location used by the
organization to receive suspected marijuana parcels from California Between August 14,
2015 and January 24, 2018, there were 193 packages delivered to 202 Rand Street, Rochest:er,
NY, 14615, all shipped from various locations in Califomia. The packages ranged in size from
2 to 22 pounds with the majority between 14 and 17 pounds for an average weight of
approximately 13 pounds per parcel The parcels are of similar size, weight, and origin to
previous parcels intercepted by Postal lnspectors that contained marijuana

118. The residents of 202 Rand Road, KONGCHAY KONGTHONG,
MANIVONE PHOl\/[l\/IAVISETH,7 LEEYA Pl-IOMMAVISETI-I, and ALEJANDRO

ESTRELLA operate the following vehicles: a gray 2008 Suzuki Grand Vitara, bearing New

44

Case 6:18-mj-OO542-.]WF Document 1 Filed 03/05/18 Page 56 of 71

York registrations ESD-5010 and HRX~3071, registered to KONGCl-IAY KONGTHONG,
and a 2000 Honda Civic, bearing New York registration HGA-8480, registered to
ALEJANDRO ESTRELLA. NYSP surveillance has observed KONGCHAY
KONGTl-IONG, MANIVONE PHOl\/ll\/iAVlSETH, LEEYA PHOl\/[MAVISETH, and
ALEJANDRO ESTRELLA operating the above vehicles at 10 Campbell Park, Rochester,
New York, 14606. Like 202 Rand Street, 10 Campbell Park is a residence in Rochester, New
York, used extensively by coconspirators in this investigation to receive, process, and store,
and sell marijuana On numerous occasions, NYSP surveillance has observed KONGCl-IAY
KONGTHONG and MANIVONE PHOMMAVIS'ETH utilizing the above vehicles to
transport cardboard boxes with Postal markings and large plastic garbage bags into and out
of the 10 Campbell Park. These boxes and plastic bags are visually similar in size and nature
of other boxes and bags observed at 10 Campbell Park which were later determined to contain
marijuana

119. On February 2, 2017, a package from Ca]ifornia weighing approximately 16
pounds was delivered to 202 Rand Street by USPS. At approximately 12:44 pm,
KONGCHAY KONGTHONG arrived at 10 Campbell Park operating the Suzuki Vitara,
bearing _New York registration ESD~5010. KONGTHONG removed a large brown
cardboard box with Postal markings from the rear tailgate of the Suzuki Vitara and carried
the box into the residence. At approximately 1100 pm, KONGTI-IONG was observed exiting
the residence carrying a plastic bag in his right hand. KONGTHONG placed the bag into
the back seat area of the Suzuki Vitara and departed the area.

120. On February 13, 2017, two packages from Los Angeles and Oakdale,

California weighing approximately 13 pounds and 15 pounds, respectively, were delivered to

45

Case 6:18-mj-OO542-.]WF Document 1 Filed 03/05/18 Page 57 of 71

202 Rand Street by USPS. At approximately 2:11 pm, NYSP surveillance observed
MANIVONE PHOMMAV"[SETH arriving at 10 Campbell Park operating the Suzuki Vitara.
PHOMMAVISETH removed two cardboard boxes with Postal markings from the rear
passenger seat area of the Suzuki Vitara and carried the boxes into the residence. At
approximately 2: 19 pm, Pl-lOl\/ll\/lAVISETH was observed returning to the Suzuki Vitara and
departing the area.

121. On February 14, 2017 at approximately 1:33 pm, NYSP surveillance observed
an Asian female arriving at 10 Campbell Park operating the Suzuki Vitara. She retrieved a
large black plastic garbage bag that appeared to be full and distended with contents from the
rear tail gate area of the vehicle. The Asian female was then observed carrying the bag into
the residence at 10 Campbell Park. At approximately 1147 pm, she returned to the Suzuki
Vitara and departed the area.

122. On March 18, 2017 at approximately 5:54 pm, NYSP surveillance observed
KONGCl-IAY KONGTHONG and MANIVONE PHOMMAVISETH arrived at 10
Campbell Park operating the Suzuki Vitara. They were both observed exiting the vehicle and
entering the residence. At approximately 6:38 pm, an Asian female exited the residence
carrying a large plastic black garbage bag that appeared to be full and distended with contents.
She placed the bag in back seat area of a 2017 Nissan, bearing Pennsylvania registration KGP-
8363 that was parked in the driveway The Asian female then opened the rear tailgate of the
Suzuki Vitara, owned and operated by KONGCHAY KONGTHONG, and removed a large
plastic black garbage that appeared to be full and distend with contents and placed that bag in
the back seat area of the 2017 Nissan. At Approximately 7:30 pm, KONGCl-IAY

KONGTHONG and MANIVONE PHOMMAVISETH exited the residence and departed

46

Case 6:18-mj-OO542-.]WF Document 1 Filed 03/05/18 Page 58 of 71

the area in the 2017 Nissan with the contents in the back seat area of the vehicle

123. On March 25, 2017 at approximately 12:26 pm, NYSP surveillance observed
an Asian female arriving at 10 Campbell Park operating the Suzuki Vitara. She was observed
retrieving a brown cardboard box from the passenger seat and delivering it to another Asian
female in the doorway of the residence at 10 Campbell Park. At approximately 12:28 pm, the
Asian female departed the area operating the Suzuki Vitara

124. On March 26, 2017 at approximately 10:47 am, KONGCHAY
KONGTHONG, operating the Suzuki Vitara, was observed by NYSP surveillance arriving
at 10 Campbell Park with an Asian female passenger They exited the vehicle and entered
the residence. At approximately 10:52 am, KONGTHONG and the Asian female exited the
residence. KONGTHONG was observed carrying a large plastic garbage bag that appeared
to be hill and distended with contents KONGTHONG placed the garbage bag in the rear
tailgate area of the Suzuki Vitara and departed with the Asian female.

125- On March 27, 2017 two packages from California, one weighing approximately
13 pounds and the other of unknown weight, were delivered to 202 Rand St by USPS. At
approximately 12:37 pm, NYSP surveillance observed an Asian female arriving at 10
Campbell Park operating the Suzuki Vitara- She exited the driver’s_ seat and removed 2
cardboard boxes with Postal markings from the back seat area of the Suzuki V'itara. She then
proceeded to carry the boxes into the residence. At approximately 12:56, the Asian female
was observed departing the area in the Suzuki Vitara.

126. On March 29, 2017 a package from California weighing approximately 12
pounds was delivered to 202 Rand St by USPS. At approximately 1146 pm, NYSP

surveillance observed MANIVONE PHOMMAVISETH arriving at 10 Campbell Park

47

s

Case 6:18-mj-OO542-.]WF Document 1 Filed 03/05/18 Page 59 of 71

operating the Suzuki Vitara. She exited the driver’s seat and removed a large brown
cardboard box with Postal markings from the back seat area of the Suzuki Vitara.
PHOl\/_|l\/.[AVISETH was then observed carrying the box into the residence. At approximately
2: 10 pm, MANIVONE PHOl\/D/lAVISETH exited the residence and departed in the Suzuki
Vitara.

127. On April 7, 2017 a package from California weighing approximately 14 pounds
was delivered to 202 Rand St by USPS_ On April 8, 2017 at approximately 12:34 pm, NYSP
surveillance observed MANIVONE PHOl\/l`_|\/IAVISETH arriving at 10 Campbell Park
operating the Suzuki Vitara. Pl-IOMMAVISETI-I exited the driver’s seat and removed a large
brown cardboard box with Postal markings from the back seat area of the Suzuki Vitara. She
was then observed carrying the box into the residence. At approximately 12:40 pm,
MANIVONE PHOMMAVISETH exited the residence and departed in the Suzuki Vitara.

128. On April 11, 2017, NYSP surveillance observed KONGCHAY
KONGTHONG, operating the Suzuki Vitara, arriving at 10 Campbell Park. At
approximately 12:40pm, KONGl-ITONG entered the residence. At approximately 12:42, he
exited the residence carrying a white plastic garbage bag that appeared to be full and distended
with contents, similar to those previously determined to contain marijuana KONGTHONG
was then observed placing the bag into the back seat area of the Suzuki Vitara and departing
the area.

129. On April 15 , 2017 at approximately 6:15 pm, NYSP surveillance observed the
Honda Civic, bearing New York registration HGA-8480, owned by ALEJANDRO
ESTRELLA, arriving at 10 Campbell Park. An Asian female is observed exiting the

passenger door of the vehicle and carrying a large black plastic garbage bag into the residence

48

Case 6:18-mj-OO542-.]WF Document 1 Filed 03/05/18 Page 60 of 71

that appeared to be distended and full with contents

130. On April 27, 2017, a package from California weighing approximately l2
pounds was delivered to 202 Rand St by USPS. At approximately 1131 pm, NYSP
surveillance observed KONGCHAY KONGTI-IONG arriving at 10 Campbell Park operating
the Suzuki Vitara. KONGTHONG was then observed removing a dark~colored duffel bag
from the rear tailgate of the Suzuki Vitara and carrying it into the residence at 10 Campbell
Park. At approximately 1:40 pm, KONGTHONG exited the residence and departed in the
Suzuki Vitara.

131. On May 8, 2017, a package nom California weighing approximately 12 pounds
was delivered to 202 Rand St by USPS. At approximately 12:26 pm, NYSP surveillance
observed KONGCHAY KONGTHONG arriving at 10 Campbell Park operating the Suzuki
Vitara. KONGTl-IONG is observed removing a white plastic bag from the rear tailgate of the
Suzuki Vitara and carrying it into the residence at 10 Campbell Park. At approximately 12:31,
KONGTHONG is observed exiting the residence carrying a large black plastic garbage bag
that appeared to be full and distended with contents, and placing it inside the Suzuki Vitara.
KONGTl-IONG then departed the area in the Suzuki Vitara. At approximately 1:54 pm, the
Suzuki Vitara returned to 10 Campbell Park, and MANIVONE PI-IOMMAVISETH exited
the passenger seat and removed a large plastic black garbage bag that appeared to be full and
distended with contents from the back seat area, and consistent with bags previously found to
contain marijuana PHOMMAVISETH was then observed carrying the garbage bag into the
residence at 10 Campbell Park. At approximately 1:58 pm, Pl-IOMMAVISETH returned to
the Suzuki Vitara and departed the area.

132. On May 11, 2017 at approximately 5:14 pm, NYSP surveillance observed the

49

Case 6:18-mj-OO542-.]WF Document 1 Filed 03/05/18 Page 61 of 71

Honda Civic arriving at 10 Campbell Park. An Asian male operator is observed exiting the
vehicle and entering the residence carrying a small black plastic bag. At approximately 5:15
pm, the same Asian male is observed exiting the residence and departing the area in the
Honda Civic.

133. On June 10, 2017, at approximately 2:58pm, NYSP surveillance observed the
Suzuki Vitara arriving at 10 Campbell Park. An Asian Female is observed removing a card
board box from the rear tailgate area of the vehicle and taking it inside the residence at 10
Campbell Park.

134. On June 16, 2017, a check of New York State Departrnent of Motor Vehicle
records revealed that New York registration ESD-5010 on the 2008 Suzuki Vitara was
replaced by New York registration l-IRX~3071. The vehicle remained registered to
KONGCl-IAY KONGTl-IONG at 202 Rand St Rochester, New York.

135. On June 23, 2017, your affiant intercepted a parcel, bearing USPS Priority Mail
tracking number 9505 5154 6596 7170 0830 64, destined for 202 Rand St, Rochester, NY,

14615, that contained the following sender and addressee information:

From: J ea Sang' S To: Mami P
Heart Clothing Boutique 202 Rand St
1903 Capital Ave Rochester NY 14615

Sacramento CA 95811

A federal search warrant was executed on this parcel and approximately 8 lbs, 9.5 oz of green,
leafy substance that field-tested positive for marijuana was recovered from inside the package.

136. On lune 30, 2017 at approximately 12:54 pm, NYSP surveillance observed the
Suzuki Vitara, bearing recently-changed New York registration l-IRX-3071, arriving at 10

Campbell Park with an Asian female operating the vehicle. The Asian female was observed

50

Case 6:18-mj-OO542-.]WF Document 1 Filed 03/05/18 Page 62 of 71

entering the residence. At approximately 1:03 pm, the Asian female exited the residence
carrying a large black garbage bag that appeared to be full and distended with contents and
placed it into the back seat area of the Suzuki Vitara. A second Asian female, who had exited
the residence at the same time as the first Asian female, performed counter-surveillance by
walking to the rear of the Suzuki Vitara and looking up and down the street as the bag was
being placed into the vehicle l

137. 7 On September 21, 2017 at approximately 91 10 am, NYSP surveillance observed
a package from California weighing approximately 10 pounds was delivered to 38 Magee
Avenue, Rochester, New York, 14613, and placed in the front porch area by a USPS letter
carrier. At approximately 9:25 am, KONGCl-IAY KONGTHONG was observed arriving at
38 Magee Avenue operating the Suzuki Vitara. KONGTHONG removed the package from
the front porch area of 10 Campbell Park and placed it into the Suzuki Vitara.
KONGTHONG was then observed departing the area and driving to his residence at 202
Rand St.

138. On September 26, 2017 at approximately 9:10 am, a package from California
weighing approximately 10 pounds was delivered to 38 Magee Avenue by USPS- At
approximately 9:25 am, NYSP surveillance observed KONGCHAY KONGTHONG
arriving at 38 Magee Avenue operating the Suzuki Vitara. KONGTHONG was observed
entering the residence empty~handed. Moments later, he was observed exiting the residence
and returning to his vehicle carrying a gray plastic garbage bag through which the outline of
a large box could be seen. I-le placed the bag inside the Suzuki and drove to 202 Rand St
where he removed the bag and took it inside the residence

139. On October 10, 2017 at approximately 2:30am, NYSP Investigator J eff Waite

51

Case 6:18-mj-00542-.]WF Document 1 Filed 03/05/18 Page 63 of 71

visited 202 Rand Street to install a court-ordered Global Positioning System (hereinafter
“GPS”) tracking unit on the 2008 Suzuki Vitara, bearing New York registration HRX~3071,
which was parked in the driveway. As Investigator Waite walked next to the house he
observed that the basement window was open and he smelled a strong odor of marijuana
emanating from the basement

140. On October 19, 2017, your affiant intercepted a Priority Mail Express envelope
suspected of containing money orders. A federal search warrant was executed on the parcel
and it was found to contain 13 money orders worth 812,900.00 _ eight (8) USPS money orders
for $1,000.00 each, four (4) MoneyGram money orders for $1,000.00 each, and one (1)
MoneyGram money order for $900.00, for a total of $12,900.00 in assorted money orders-
The envelope contained the following address information across its face:

USPS Priority Mail Express tracking number EL 817 205 345 US

Frorn: M. Phommaviseth To: Daryl Vinavong
202 Rand St. 401 Alboran Sea Circle
Rochester, NY 14615 Sacramento, CA 95834

l4l. “M. Phomrnaviseth” was determined to be l\/_[ANIVONE PHOMMAVISETI-I,
so on October 20,- 2017, your affiant reviewed video at Westgate Post Office, 1485 Howard
Road, Rochester, New York, 14624. On October 19, 2017, at approximately 3:51 pm,
MANIVONE PHOMMAVISETl-l was recorded entering the Westgate Post Office.
PHOl\/lMAVlSETH was recorded standing in line at the Post Oflice for approximately 4
minutes At approximately 3:55 pm, PHOMMAVISETH Was recorded approaching the
clerk and purchasing two (2) USPS money orders, serial numbers 23890148785 and
23890148796, with a stack of prepared U.S. currency. These USPS money orders were 2 of

the money orders recovered during the execution of the search warrant on the USPS Priority

52

Case 6:18-mj-00542-.]WF Document 1 Filed 03/05/18 Page 64 of 71

Mail Express envelope, bearing tracking number EL 817 205 345 US, listed above.

142. On October 20, 2017, your affiant also reviewed video at Lexington Post
Office, 1280 Lexington Avenue, Rochester, New York, 14606. On October 19, 2017, at
approximately 4:38 pm, MANIVONE PHOMMAVISETH was recorded entering the
Lexington Post Office. At approximately 4:39 pm, PHOM`_M'AVISETH was recorded
approaching the counter, handing the clerk a stack of prepared U.S. currency for the purchase
of two (2) USPS money orders, bearing serial numbers 23793489786 and 23793489797.
Pl-IOMMAVISETH was then recorded briefly leaving the counter line to procure a 6” x 10”
brown ReadyPost photo document mailer from the retail store area of the Post Office - These
two (2) USPS money orders were recovered during execution of the search warrant on the
USPS Priority Mail Express envelope, bearing tracking number EL 817 205 345 US, listed
above. In addition, the 6” x 10” brown ReadyPost photo document mailer was also
discovered during the execution of the search warrant on the USPS Priority Mail Express
envelope, bearing-tracking number EL 817 205 345 US, listed above, as Well.

143. On October 20, 2017, your afliant reviewed video at Westgate Post Office, 1485
Howard Road, Rochester, New York, 14624. On October 19, 2017, at approximately 5:37
pm, KONGCl-IAY KONGTHONG was recorded entering the Westgate Post Oiiice holding
a Priority Mail Express envelope in his left hand. KONGTHONG was recorded standing in
line at the Post Office for approximately 3 minutes At approximately 5:40 pm,
KONGTHONG was recorded approaching the clerk and mailing the Priority Mail Express
envelope A search of Postal records revealed that a Priority Mail Express envelo'pe, bearing
tracking number EL 817 205 345 US, was mailed at Westgate Post Office on October 19,

2017 at approximately 5 :40 pm _ EL 817 205 345 US is the same Priority Mail Express found

53

Case 6:18-mj-00542-.]WF Document 1 Filed 03/05/18 Page 65 of 71

to contain the four (4) money orders, bearing serial numbers 23793489786, 23793489797,
23890148785, and 23890148796, purchased earlier in the day by MANIVON'E{
PHOl\rH\/IAVISETH and discovered during the warrant execution listed above.

144. On October 24, 2017, your affiant intercepted a Priority Mail Express envelope
suspected of containing money orders. A federal search warrant was executed on the parcel
and it was found to contain 12 money orders worth $11,800.00 ~ four (4) USPS moneys orders
for $l,000.00 each, six (6) MoneyGram money orders for 81,000.00 each, and two (2)
MoneyGram money orders for $900.00 each. The envelope contained the follong address

information across its face:

USPS Priority Mail Express tracking number EK 996 930 336 US

From: Kongchay Kongthong To: Phongsavanh Vinavong
202 Rand Streeet 2055 Wilcox Ranch Rd

Rochester, NY 14615 Plumas Lake, CA 95961

145. On October 27 , 2017, your affiant intercepted a Priority Mail Express envelope
suspected of containing money orders. A federal search warrant was executed on the parcel
and it was found to contain 13 money orders worth 512,700.00 - eight (8) USPS moneys
orders for $1,000.00 each, two (2) USPS money orders for $900.00 each, two (2) MoneyGram
money order for $l,000.00, and one (l) MoneyGram money orders for $900.00 each. The

envelope contained the following address information across its face:

USPS Priority Mail Express tracking number EK 996 931 787 US

From: Kongchay Kongthong To: Linda Malathip
202 Rand St. 6312 Laurine Way
Rochester, NY 14615 Sacramento, CA 95824

146. As of January 10, 2018, Postal lnspectors have intercepted 5 Priority Mail Express

54

Case 6:18-mj-00542-.]WF Document 1 Filed 03/05/18 Page 66 of 71

envelopes each bearing the return addresses of 202 Rand St, Rochester, NY 14615, The total
amount of USPS and MoneyGram money orders seized or recorded from these envelopes totals
$79,400.00. In addition, the residents of 202 Rand Street, KONGCHAY KONGTHONG and
MANIVONE PHOMMAVISETH have been observed during surveillance, physical and video,
purchasing money orders at Post Oflices in structured amounts to avoid Bank Secrecy Act
reporting requirements Between August 4, 2015 and January 24, 2018, there were 193
packages delivered to 202 Rand Street, Rochester, NY, 14615, all shipped from various
locations in California, consistent with those previously determined to contain marijuana,
and which weighed over 2,000 pounds in total.

IX. 371 Jay Street

147. The residence at 371 J ay Street has been identified as a location used by the
organization to receive suspected marijuana parcels from California. Between August 2015
and January 31, 2018, 371 Jay Street, Rochester, New York, 14613, has received at least 44
parcels suspected of containing marijuana, all shipped from various locations in California.
The packages ranged in size from 7 to 18 pounds with an average weight of approximately 13
pounds per parcel The parcels are of similar size, weight, and origin to previous parcels
intercepted by Postal lnspectors that contained marijuana

148. The resident of 371 J ay Street is KONGCHANH VIRIYAVONG. During the
course of the investigation, a gray 2011 Nissan Rogue, bearing New York registration FPG-
2395, a gray 2017 Acura RDX, bearing New York registration HJK-2455., and a black 2012
Acura TSX, bearing New York registration FWV-6912, each registered to KONGCI-IANH
VIRIYAVONG, have been observed at 10 Campbell Park on numerous occasions being

utilized to transport cardboard boxes with Postal markings and large plastic garbage bags into

55

Case 6:18-mj-00542-.]WF Document 1 Filed 03/05/18 Page 67 of 71

and out of the residence. These boxes and plastic bags are visually similar in size and nature
to other boxes and bags observed at 10 Campbell Park which were later determined to contain
marijuana

149. On May 1, 2017, NYSP surveillance observed K`ONGCHANH
VIRIYAVONG removing a black plastic garbage bag that appeared to be full and distended
with contents from the rear of the Nissan Rogue, bearing New York registration FPG-2395,
at 10 Campbell Park. VIRIYAVONG was observed entering the residence at 10 Campbell
Park with the garbage bag and leaving empty~handed a short time later,

150. On May 21, 2017, NYSP surveillance observed an unknown Asian female
removing a black plastic garbage bag that appeared to be full and distended with contents
from the rear of the Acura RDX, bearing New York registration HJK-2455. The unknown
Asian female was observed entering the residence at 10 Campbell Park with the garbage bag
and leaving empty-handed a short time later,

151. On May 25, 2017, NYSP surveillance observed KONGCHANH
VIRIYAVONG removing a black plastic garbage bag that appeared to be full and distended
with contents from the rear of the Nissan Rogue, at 10 Campbell Park. VIRIYAVONG was
observed entering the residence at 10 Campbell Park with the garbage bag and leaving empty-
handed a short time later.

152. On June 2, 2017, NYSP surveillance observed KONGCHANH
VIRIYAVONG removing a black plastic garbage bag that appeared to be full and distended
with contents from the rear of the Nissan Rogue, at 10 Campbell Park_ VIRIYAVONG was
observed entering the residence at 10 Campbell Park with the garbage bag and leaving empty~

handed a short time later,

56

Case 6:18-mj-00542--.]WF Document 1 Filed 03/05/18 Page 68 of 71

153. On August ll, 2017 at approximately 4:25 pm, NYSP surveillance observed a
USPS letter carrier delivering 3 parcels to 10 Campbell Park. At approximately 5:1lpm,
VIRIYAVONG was observed entering the driveway at 10 Campbell Park operating the Acura
TSX. At approximately 5:14 pm, VIRlYAVONG was observed exiting the residence carrying
a black plastic garbage bag that appeared to be full and distended with contents
VIRIYAVONG was then observed placing the bag into the Acura TSX and departing the
area.

154. On October 6, 2017, Postal lnspector Landen Hawkins intercepted the
following outgoing Priority Mail Express envelope that was suspected to contain proceeds of
narcotics sales:

USPS Tracking # El 895 718 547 US

From: Kongchanh Viriyavong _ To: Sone Rasavong
371 J ay St 1854 Hille Ave
Rochester, NY 14611 Marysville, CA 95901

inspector Hawkins executed a federal search warrant for the Priority Mail Express envelope
and recorded $14,900.00 in Money Orders.

155. On November 1, 2017, your affiant noticed a parcel destined for 371 .l ay Street
during a review of Postal records Since the incoming parcel matched the size, weight, and
source city information of previous parcels known to contain marijuana, physical surveillance
was set up on 371 J ay Street,

156. On November 3, 2017, NYSP lnvestigator Thomas Walton and several other
members of the NYSP set up physical surveillance on 371 J ay Street, At approximately 2:00
pm a USPS letter carrier delivered a package to 371 J ay Street. The letter carrier Walked to

the rear door of 371 J ay Street and engaged in a conversation with an Asian male. The letter

57

Case 6:18-mj-00542-.]WF Document 1 Filed 03/05/18 Page 69 of 71

carrier then gave the package to the Asian male who, in turn, took the package into the
residence.

157. On January ll, 2018, your affiant noticed a parcel destined for 10 Campbell
Park during a review of Postal records Since the incoming parcel matched the size, weight,
and source city information of previous parcels known to contain marijuana, physical
surveillance was set up on 371 .l ay Street.

158. On January 11, 2018, NYSP lnvestigator Thomas Walton and several other
members of the NYSP set up physical surveillance at 10 Campbell Park. At approximately
3:53 pm, a USPS letter carrier delivered 2 parcels At approximately 4:07 pm, KEITH
SURIVAN walked from 75 Barker Street, Rochester, New York, to 10 Campbell Park
carrying a black backpack and a large white shopping bag. SURIVAN collected the recently
delivered parcels, unlocked the garage’s entry door, and carried them into the residence at 10
Campbell Park. At approximately 4:32 pm, NYSP physical surveillance observed
VIRIYAVONG arriving at 10 Campbell Park in the Acura TSX. VIRIYAVONG exited the
Acura TSX and entered 10 Campbell Park empty-handed At approximately 4:46 pm,
KONGDEUANE VONGXAY exited the residence at 10 Campbell Park and performed
counter-surveillance by walking to the edge of the driveway and looking up-and-down the
street while VIRIYAVONG was exited the residence carrying a shopping bag.
VIRIYAVONG then entered the Acura TSX and NYSP followed him to 371 J ay Street where
he was observed entering the residence with the shopping bag.

159. Between August 2015 and January 31, 2018, 371 J ay Street, Rochester, New
York, 14613, has received at least 44 suspected of containing marijuana from various

locations in California, and which were consistent with packages previously determined to

58

Case 6:18-mj-00542-.]WF Document 1 Filed 03/05/18 Page 70 of 71

contain marijuana The most recent was an approximately 15 pound parcel delivered by

USPS on November 8, 2017.

CONCLUSION

Based on the foregoing, 1 respectftu submit that these facts establish probable cause
to believe that PHOUMANO DUANGTAVILAY, KHONESAVANH VONGXAY,
KONGCl-IAY KONGTHONG, MANIVONE PHOMMAVISETH, JAMES VONGXAY,
CHANDY VONGXAY, KE]_TH SURIVAN, PHETNALAY DOUNGTAVILAY, PHOU
DAOREUANG, DANISHA FLOYD, JERIMIAH TORRES, PATHANA VONGXAY, and
KONGDEUANE VONGXAY have committed violations of Title 21, United States Code,
Sections 846 and 841(b)(1)(B) (conspiracy to possess with intent to distribute and to distribute ,
100 kilograms or more of a mixture or substance containing a detectable amount of marijuana),
and that probable cause exists to believe that evidence, fruits and instrumentalities of such
violations are located inside the locations known as:

a) 10 Campbell Park, Rochester, NY - the residence of PHOUMANO
DUANGTAVILAY, KHONESAVANH VONGXAY, KONGD EUANE
VONGXAY, and JAMES VONGXAY.

b) 202 Rand Street, Rochester, NY - the residence of KONGCHAY
KONGTHONG and MANIVONE PHOMMAVISETH.

c) 75 Barker Street, Rochester, NY - the residence of CHANDY VONGXAY and
KEITH SURIVAN.

d) 100 Santee Street, Rochester, NY - the residence of Moune Douangtavilay and
Len Douangtavilay.

e) 679 Eaton Road, Rochester, NY- the residence of PHOU DAOREUANG.

f) 174 Clay Avenue, Rochester, NY~ the residence of DANlSl-IA FLOYD.

g) 95 Taft Avenue, Rochester, NY- the residence of Darounsak Daoreuang and
Viengthong Daoreuang

h) 371 3 ay Street, Rochester, NY- the residence of Kongchanh Viriyavong.

i) 17 Campbell Park, Rochester, NY - a residence owned by Mike Sypaseuth With
utilities paid by KONGDEUANE VONGXAY.

59

Case 6:18-mj-00542-.]WF Document 1 Filed 03/05/18 Page 71 of 71

All of which are further described in their respective Attac]:lments A, and that probable cause

exists to seize those items set forth in Attachment B.

WHEREFORE, it is respectliilly requested that this Court issue the requested search
warrant authorizing the search of the listed residences as described in Attachments A, for the

items described in Attachments B.

 

U.S. Postal lnspection Service

Sworn and subscribed to before
e this .S' d rMarch, 2018.

ll

. JONATI-IAN W- FELDMAN
Uni ed States Magistr-ate Judge

 
   
  

60

